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 1
 2   UNITED STATES DISTRICT COURT
 3   NORTHERN DISTRICT OF NEW YORK
 4   ____________________________________________________
 5    RICHARD SPOSATO,
 6                    Plaintiff,
 7
 8         vs.                              Case No. 5:2023cv00364
 9
10    MATTHEW W. RYAN, individually and in his official
11    capacity,
12                    Defendant.
13   ____________________________________________________
14
15         This is the Examination Before Trial of
16                          RICHARD SPOSATO
17          taken on Wednesday, February 5, 2025,
18          held REMOTELY via Zoom, commencing at
19          10:13 a.m., concluding at 11:41 a.m.,
20         taken before Renaye M. Sirianni, Court
21          Reporter and Notary Public in and for
22                    the State of New York.
23
24
25

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 1
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                                                                     3


 1
 2   INDEX:
 3
 4   WITNESS                                                  PAGE
 5
 6   Richard Sposato
 7                 Examination by Mr. Mullin                   7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

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                                                                     4


 1
 2   INDEX TO EXHIBITS:
 3
 4   NUMBER          DESCRIPTION                              PAGE
 5
 6   1               Photograph - House                        31
 7   2               Facebook Post                             38
 8   3               Facebook Post                             39
 9   4               Photograph - Taser on body                45
10   5               Photograph - Taser prong                  47
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

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                                                              5


 1
 2   REQUEST LIST:
 3
 4   PAGE      DESCRIPTION
 5   41        Exhibit 3 Photo
 6   48        Bruise Photos
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

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                                                              6


 1
 2   FEDERAL STIPULATIONS:
 3
 4        IT IS HEREBY STIPULATED AND AGREED by and
 5   between the attorneys for the respective parties
 6   hereto that this deposition may be taken by Counsel
 7   for Defendant at this time;
 8        IT IS FURTHER STIPULATED, that all objections
 9   except as to the form of the questions and
10   responsiveness of the answers be reserved until the
11   time of the trial;
12        IT IS FURTHER STIPULATED, that pursuant to
13   Federal Rules of Civil Procedure 30(3)(1) the
14   witness requests to review the transcript and make
15   any corrections to same before any Notary Public;
16        IT IS FURTHER STIPULATED, that if the original
17   deposition has not been duly signed by the witness
18   and returned to the attorney taking the deposition
19   by the time of trial or any hearing in this cause, a
20   certified transcript of the deposition may be used
21   as though it were the original;
22        IT IS FURTHER STIPULATED, that the attorneys
23   for the parties are individually responsible for
24   their certified transcript charges, including any
25   expedite or other related production charges.

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 1                RICHARD SPOSATO by MR. MULLIN

 2                R I C H A R D            S P O S A T O,
 3          having been first duly sworn by a Notary
 4          Public within and for the State of New York,
 5          was examined and testified as follows:
 6   EXAMINATION
 7   BY MR. MULLIN:
 8          Q.   All right.      We're going to be doing this
 9   deposition.     I will be providing the witness a copy
10   of the deposition.
11               Sir, we're going to have you sign the
12   deposition transcript.           We'll send you a copy of the
13   transcript.     You are allowed -- you'll have a
14   correction page with the transcript.                   You are
15   allowed to make corrections if the court reporter
16   misheard you or didn't understand a word or
17   something.    You can correct it by signing -- or
18   making the corrections on the correction page and
19   signing that correction page.               If you fail to return
20   the signed page, the transcript stays the way it is
21   set.
22               Okay?
23          A.   Okay.
24          Q.   So you have waived an opportunity to make
25   any corrections.

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 1             RICHARD SPOSATO by MR. MULLIN

 2       A.   I know, I know.
 3       Q.   It's not like you can change answers.             It's
 4   only to correct answers.
 5       A.   No, I understand.
 6       Q.   Okay?
 7       A.   All right.      Is that on the record?
 8       Q.   Yes.    Everything is on the record, sir.
 9   Can you state your name for the record?
10       A.   Richard Sposato.
11       Q.   And where do you reside, sir?
12       A.   I reside in America.
13       Q.   What town do you live in?
14       A.   I don't live in a town.              I live in -- I'm a
15   soul.
16       Q.   What is your mailing address?
17       A.   My mailing address is 510 North Orchard
18   Road, Salvoy, New York 13209.
19       Q.   And do you live there?
20       A.   I don't live there.           I live in my mind.
21       Q.   Okay.    And how long have you lived in your
22   mind?
23       A.   Since the day I was born.
24       Q.   Okay.    What's the highest grade of
25   education that you've completed?

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 1                RICHARD SPOSATO by MR. MULLIN

 2         A.    One year of college.
 3         Q.    And where was that?
 4         A.    West Texas State University.
 5         Q.    And when was that?
 6         A.    Oh, let me see, 1982.
 7         Q.    And are you employed?
 8         A.    I'm self.
 9         Q.    Self-employed?
10         A.    Retired.
11         Q.    All right.      When's the last time you were
12   employed?
13         A.    Probably when I was 20.
14         Q.    And what was the job you did when you were
15   20?
16         A.    I worked at -- last job I did, probably
17   worked at Crouse-Hinds.
18         Q.    And when did you work at Crouse-Hinds?
19         A.    Like when I was 18, 19.              Somewhere around
20   there.
21         Q.    Okay.    And how long did you work there?
22         A.    Almost a year.
23         Q.    And then, have you held any other
24   employment since then?
25         A.    I've been self-employed my whole life.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.      And what do you do when you're
 3   self-employed?
 4       A.      I have a bowling ball company that -- you
 5   know, I used to run a pro shop in Strike and Spare
 6   Lanes, you know, in Eastwood, next to Eastwood
 7   Sports Center.       I was a professional bowler.
 8   Although I didn't really play them, per se.                 Then I
 9   have a, you know, bowling ball company.
10       Q.      Do you make bowling balls?
11       A.      I design bowling balls and contract
12   manufacturers to produce them.
13       Q.      Okay.    Sir, the action that you've
14   commenced against Officer Matthew Ryan, it arises
15   out of an incident on June 19, 2021.
16               Do you recall that day?
17       A.      Yes.    Not the whole day, but I recall the
18   incident.
19       Q.      All right.      And it was early morning hours
20   of June 20 -- or June 19, '21, correct?
21       A.      Yeah.
22       Q.      And at the time, according to your
23   complaint, you were struck with a -- what we call a
24   prong from a taser.
25               Do you recall that happening?

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 1                RICHARD SPOSATO by MR. MULLIN

 2       A.    Yep.      I was shot in the back.
 3       Q.    Where in the -- where on your body did this
 4   prong come in contact with you?
 5       A.    I believe it's in the pictures that you
 6   already have.
 7       Q.    Where -- can you reread the question,
 8   please?
 9                     (Question was read back.)
10       Q.    Please answer the question.
11       A.    It was in the midsection of my back.
12       Q.    Okay.     Was it above your belt line or below
13   your belt line?
14       A.    It was above my belt line.
15       Q.    Did you receive any medical treatment for
16   that contact?
17       A.    No.    Not any professional medical
18   treatment.    No.
19       Q.    Okay.     Did you -- have you received any
20   counseling as a result of that contact?
21       A.    I have not received any professional
22   counseling at that time, or because of that time.
23       Q.    Because of that incident?
24       A.    Because of that incident.                Yeah.
25       Q.    Okay.     So from the date of this incident to

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 1               RICHARD SPOSATO by MR. MULLIN

 2   today, have you received any medical or
 3   psychological counseling as a result of this prong
 4   contact?
 5       A.     I have not received any professional
 6   medical counseling.
 7       Q.     You're saying "professional."                   What do you
 8   mean by not receiving any "professional" counseling
 9   or treatment?
10       A.     I haven't received any.
11       Q.     Okay.    Did this object that contacted you,
12   did it stay stuck to your body?
13       A.     Yes.
14       Q.     For how long?
15       A.     Until I pulled it out.
16       Q.     And how long did that last?                How long did
17   that time elapse, from the time it contacted you to
18   the time you pulled it out?
19       A.     I don't know the exact time, but you
20   know --
21       Q.     Was it a day?        Was it --
22       A.     No.    It was like, maybe, 15, 20 minutes.
23       Q.     For 20 minutes it was -- contacted you?
24       A.     Yeah.
25       Q.     And where did the -- where did the incident

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 1                RICHARD SPOSATO by MR. MULLIN

 2   occur where you were contacted by the probe?
 3       A.   It occurred at the side of my mom's house
 4   as I was entering the garage.
 5       Q.   All right.        And did the contact occur
 6   inside the house or outside of the house?
 7       A.   Outside the house.
 8       Q.   Was there any wire attached to the prong?
 9       A.   There was.
10       Q.   And did you take the prong and wire into
11   the house, or did you remove it before you went in
12   the house?
13       A.   I broke the wire off.
14       Q.   Okay.      Where did --
15       A.   Before I went in the house.
16       Q.   Okay.      And just so we're clear, the side of
17   the house has a garage on it, correct?
18       A.   Correct.
19       Q.   And the questions I just asked you about
20   going in the house, would those also be true that
21   you were going into the garage?
22       A.   That's the entranceway into the house.
23       Q.   That -- okay.          So let me step back and say,
24   was the wire still attached to you when you entered
25   the garage?

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 1              RICHARD SPOSATO by MR. MULLIN

 2       A.    No.
 3       Q.    Okay.    You had -- you had removed it before
 4   you entered the garage?
 5       A.    Yes.
 6       Q.    And the prong, when did you remove that?
 7       A.    Sometime afterwards.            After I was in the
 8   house.
 9       Q.    Through the garage and into the house
10   itself?
11       A.    Yes.
12       Q.    Okay.    And what did you do to remove it?
13       A.    Pulled it out.
14       Q.    Okay.    And was there any blood?
15       A.    Some droppings, drips.             A little bit.
16       Q.    Okay.
17       A.    Yeah.
18       Q.    And what did you do where the prong came in
19   contact with you?      What did you do to your body
20   after you removed it?
21       A.    I looked at it.
22       Q.    All right.
23       A.    To see -- you know, I looked at it.
24       Q.    Did you have to use a bandaid for it?
25       A.    I -- most people might -- would probably

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 1             RICHARD SPOSATO by MR. MULLIN

 2   use a bandaid, but I didn't.
 3       Q.   Okay.      And when the wire was also attached
 4   to the prong -- let me withdraw that question.
 5       A.   But let's just say I can't remember if I
 6   used a bandaid.      How's that?
 7       Q.   Whatever you want to tell me, sir.                  You're
 8   under oath.    The -- at the time of the original
 9   contact, tell me how you felt.
10       A.   Of the original contact?                In shock.
11       Q.   What were you in shock of?
12       A.   That I was shot with a taser.
13       Q.   Okay.      Had you ever had that done before?
14       A.   No.
15       Q.   All right.        And tell me how you felt?
16       A.   In shock.
17       Q.   Was there any pain?
18       A.   Yeah.      There was pain.
19       Q.   Describe the pain for me.
20       A.   It's like getting shot with a dart.
21       Q.   And was -- did the pain continue beyond the
22   point of contact, or the moment of contact?
23       A.   Yeah.      There was bruising.
24       Q.   And was there any electrical charge or
25   anything to the -- after the contact was made?

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 1              RICHARD SPOSATO by MR. MULLIN

 2       A.    There was no electrical charge.
 3       Q.    Okay.    And you were able to walk into the
 4   house -- continue walking into the house?
 5       A.    Yes.
 6       Q.    And where did you remove the prong?
 7       A.    In my mom's bathroom.
 8       Q.    Was anybody at home besides you?
 9       A.    My mom.
10       Q.    Okay.    What's your mom's name?
11       A.    Carolyn Grund.
12       Q.    Could you spell the last name, please?
13       A.    G-R-U-N-D.
14       Q.    And is she still living there?
15       A.    Yes.
16       Q.    Does she live there with anyone else?
17       A.    No.
18       Q.    And did she see you with the prong attached
19   to you?
20       A.    I believe so.
21       Q.    Did she see you remove it?
22       A.    I can't remember.
23       Q.    Did you have to -- well, let me -- let me
24   ask you this first, what were you wearing that
25   night?

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 1             RICHARD SPOSATO by MR. MULLIN

 2       A.   I was wearing a loose fitting shirt,
 3   t-shirt type.
 4       Q.   Okay.    And what type of pants did you have
 5   on, do you recall?
 6       A.   I don't recall.
 7       Q.   The shirt, did the prong go through the
 8   shirt?
 9       A.   Yes.     It would have to go through the shirt
10   to stick to me.
11       Q.   Okay.    And do you still have the shirt that
12   you were wearing that night?
13       A.   I believe so.
14       Q.   Was there a hole in the shirt?
15       A.   There must be some -- I don't know if
16   there's -- how much of a hole that's left.               I don't
17   know if it went through the threads it's -- you
18   know, how it left the hole.           I haven't really, you
19   know, looked at it much.         It's not like a gaping
20   hole, if there is a hole.
21       Q.   It's fair to say you don't know whether
22   there's a hole -- there was a hole made in the
23   shirt?
24       A.   I can't say for sure right now, because I'm
25   not looking at the shirt.

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 1             RICHARD SPOSATO by MR. MULLIN

 2       Q.   Okay.      And what did you do after you
 3   removed the prong?
 4       A.   What'd I do afterwards?                I talked to my
 5   mother for a while.
 6       Q.   Let's back up a little bit and -- and go to
 7   shortly before this incident occurred.
 8            Were you out somewhere that evening?
 9       A.   I was out.        Obviously out, because I was,
10   you know, in my auto.
11       Q.   Okay.      And where were you driving from?
12       A.   I wouldn't say I was driving, I was riding
13   in my auto horse, modern day mechanical horse.
14       Q.   Okay.      And who was steering it?
15       A.   I was.
16       Q.   Okay.      And this horse that you're calling
17   it, it's a car, correct?
18       A.   Used automobile car.              There's a lot of
19   different names.
20       Q.   Sure there are.           Sure there are.
21   Absolutely.
22       A.   I call it a modern day mechanical horse.
23       Q.   Okay.      For the deposition, we'll call this
24   car a horse; is that good?
25       A.   No.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.     What do you want to call it then?
 3       A.     Modern day mechanical horse, or an auto
 4   horse.
 5       Q.     All right.
 6       A.     Or a used automobile.
 7       Q.     All right.       We'll call it a used automobile
 8   for the deposition.
 9       A.      Okay.
10       Q.      You were operating the used automobile,
11   correct?
12       A.      No.
13       Q.      All right.      So who else was in the used
14   automobile with you?
15       A.      What's the definition of operating?
16       Q.      Using it.
17       A.      No.
18       Q.      You weren't using it?
19       A.      That's not the definition of operating.
20       Q.      Well, what definition would you like to
21   use, sir?
22       A.      I was steering it.
23       Q.      Okay.    Who was steering the used
24   automobile?
25       A.      I was.

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 1             RICHARD SPOSATO by MR. MULLIN

 2       Q.   And do you recall where you were coming
 3   from?
 4       A.   Coming from downtown.
 5       Q.   Okay.      And where were you going?
 6       A.   My mom's house.
 7       Q.   And did there come a time where you were
 8   driving on West Genesee Street?
 9       A.   Wasn't driving.
10       Q.   All right.        Did you --
11       A.   I was riding my --
12       Q.   Go ahead.        You can continue to talk if
13   you'd like.
14       A.   I was riding in my modern day mechanical
15   horse.
16       Q.   All right.        And the used automobile, were
17   you riding on West Genesee Street?
18       A.   I was.
19       Q.   And do you recall the used automobile --
20   Did you stop it at any time on West Genesee Street?
21       A.   I believe I stopped on the light at Fay
22   Road across from Westvale Plaza.                I can't remember
23   if I had to stop prior to that.
24       Q.   Okay.      So let's start from there, at the
25   stop at Fay Road in West Genesee Street.

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 1             RICHARD SPOSATO by MR. MULLIN

 2            Did the used automobile have lights on?
 3       A.   There's always lights on.                 Some lights on.
 4       Q.   Were there headlights on the used
 5   automobile?
 6       A.   I don't recall.
 7       Q.   Do you recall whether they were on?
 8       A.   I do not recall if they were on.
 9       Q.   You've submitted previous paperwork in this
10   case admitting that the headlights were not on.
11            Do you recall doing that?
12       A.   I don't recall my -- all my paperwork.
13   They were maybe presumed to be not on.                     Fully
14   deployed, let's just say that.              So I'm just taking
15   what the officer said, because I --
16       Q.   And did the used automobile move from the
17   light at Fay Road?
18       A.   Of course, it moved from the light after it
19   turned green.
20       Q.   Right.      And who made it move?
21       A.   My foot.
22       Q.   Okay.
23       A.   So on the pedal.
24       Q.   So you applied the pedal to make the used
25   automobile move?

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 1                RICHARD SPOSATO by MR. MULLIN

 2       A.      Correct.
 3       Q.      And you continued to travel west on West
 4   Genesee Street?
 5       A.      Correct.
 6       Q.      And at some point in time on West Genesee
 7   Street, did you observe a police vehicle behind you?
 8       A.      At some point.         I'm not sure if it was West
 9   Genesee Street.       I believe so, yes.             And I believe
10   he was parked on the -- in front of Patrick's Dry
11   Cleaners.
12       Q.      When did you see the police vehicle at
13   Patrick's Dry Cleaners?
14       A.      I'm familiar with it.             That's where they
15   park at night, stalking the people coming wherever
16   they're from.      You know, rather than sitting over in
17   the parking -- wide open parking lot, they tend to
18   hide behind the -- the Patrick Dry Cleaners work
19   van, so they can't be seen.
20       Q.      Do you have a problem with that?
21       A.      Yes.
22       Q.      Why?
23       A.      Why?   Because what are they doing hiding
24   like that?
25       Q.      What's wrong with hiding?

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 1              RICHARD SPOSATO by MR. MULLIN

 2       A.    Well, they shouldn't be hiding.
 3       Q.    Why is that?
 4       A.    What are they doing hiding?                  What are they
 5   just out there jacking people like deer?
 6       Q.    Do they shoot people from that spot?
 7       A.    No.     I'm just saying, what are they out
 8   there to do?     Are they out there to keep people
 9   safe?   Are they out there to actually impose their
10   force of martial law against us?
11       Q.    Have you ever seen them enforce martial law
12   from the dry cleaning parking spot?
13       A.    Yes.
14       Q.    When did they do that?
15       A.    Well, basically -- okay.                The -- the
16   supposed speed limits are martial law.                      If they're
17   enforcing them to the T, that if somebody's going a
18   little faster than what a posted speed limit says.
19       Q.    Are you opposed to the police enforcing the
20   speed limits?
21       A.    Yes.
22       Q.    Why?
23       A.    Why?     Because it's not about safety.                  Okay?
24   It's just about their power and control over the
25   people.   Does it matter how fast somebody goes about

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 1                RICHARD SPOSATO by MR. MULLIN

 2   their day, as long as they get home safe?                   Why does
 3   it matter?
 4       Q.      Are you aware of any studies that have
 5   shown that decreasing speeds reduces injuries and
 6   fatalities?
 7       A.      No.    I'm not aware of any of those,
 8   actually.    I'm aware of the Montana Speed Paradox
 9   study that's -- that said when they lifted the speed
10   limits, that they actually reduced traffic
11   fatalities.       That's what I'm aware of.
12       Q.      So you're driving along West Genesee
13   Street, were you aware of what the speed limit was?
14       A.      I wasn't driving along West Genesee Street,
15   as earlier mentioned.          I was traveling.
16       Q.      -- rephrase the question.               You're traveling
17   on West Genesee Street using the pedal to accelerate
18   your used automobile.
19               Were you aware of the speed limit on West
20   Genesee Street?
21       A.      Yes.    I'm aware of the speed limit.              I go
22   there all the time.
23       Q.      And in fact, you've been living or visiting
24   your mother in that area for your lifetime, correct?
25       A.      I grew up there.

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 1              RICHARD SPOSATO by MR. MULLIN

 2       Q.    So you're very familiar with West Genesee
 3   Street?
 4       A.    I am.      I'm very familiar that the speed
 5   limit is outdated and overly antiquated being 30
 6   miles an hour on a four-lane thoroughfare, versus
 7   the back roads of Salvoy single-lanes are still 30
 8   miles an hour.       Okay?     So when it -- so they're not
 9   even --   okay?      Set up with any kind of speed that's
10   appropriate for the thoroughfare that -- that it is.
11   And being, you know, at night with 1/10th or less of
12   the people on the road makes -- then there's nobody
13   even on the road at that time of night.
14       Q.    So at night you can go faster because
15   nobody else is there; is that you're thinking?
16       A.    Go faster than what?
17       Q.    The speed limit.
18       A.    My thinking is I go -- I pay attention to
19   the road and go as comfortable as I feel safe, which
20   that should be -- everybody should be allowed to
21   travel as fast as they feel comfortable with,
22   because when people are in their comfort zone and
23   paying attention, they're going to -- they're going
24   to be safer.
25       Q.    So as your used automobile is traveling on

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 1                RICHARD SPOSATO by MR. MULLIN

 2   West Genesee Street, when did you become aware that
 3   there was a police officer behind you?
 4       A.      Sometime after leaving the light.
 5       Q.      Did you see his emergency lights activated
 6   behind you?
 7       A.      Not immediately, no. They were not
 8   immediately activated.
 9       Q.      When did you see the lights activated?
10       A.      Halfway down Orchard Road.
11       Q.      And when you saw that they were activated,
12   what did you do?
13       A.      I just -- I slowed down.              I kept moving,
14   slowed down, because I thought he would pass me
15   because I wasn't speeding.             So in my mind I wasn't
16   doing -- didn't do anything wrong.                  I put my signal
17   light on to turn on Orchard Road.                 I wasn't
18   speeding.    I know the road.            So I had no clue why he
19   was putting the lights on.
20       Q.      How fast were you going on West Genesee
21   Street?
22       A.      Under 40.
23       Q.      More than 30?
24       A.      Probably more than 30.
25       Q.      More than 35?

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 1                RICHARD SPOSATO by MR. MULLIN

 2          A.   I can't confirm that.             Possibly.
 3          Q.   Were you following your philosophy that you
 4   could go as fast as you felt safe?
 5          A.   No.
 6          Q.   Were you driving in -- or were you
 7   operating your used automobile in accordance with
 8   the speed limit on Genesee Street?
 9          A.   I wasn't operating a used automobile.
10          Q.   Okay.    That you were traveling in.            Were
11   you traveling in the used automobile at a speed
12   under the posted speed limit on West Genesee Street?
13          A.   I was not traveling under the posted speed
14   limit, no.
15          Q.   You were above it?
16          A.   I was above 30.         I was traveling at a
17   prudent speed.
18          Q.   Okay.    Just talking about the speed limit,
19   sir?
20          A.   Right.    I was traveling at a prudent speed.
21          Q.   Above the speed limit?
22          A.   Slightly above the speed limit.
23          Q.   Okay.    And did you -- when the officer
24   illuminated his emergency lights, did you make any
25   effort to yield to the officer by pulling over to

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 1                RICHARD SPOSATO by MR. MULLIN

 2   the side?
 3       A.      I did make an effort to yield.                  I slowed
 4   down and moved to the right.
 5       Q.      Did you stop?
 6       A.      I didn't stop.
 7       Q.      Why not?
 8       A.      Because he didn't go by me.
 9       Q.      He continued to be behind you with his
10   lights?   Did he have a siren on?
11       A.      I can't say that I heard any sirens.
12       Q.      And after the officer did not go by you,
13   what did you do?
14       A.      I was fairly close to my mom's driveway and
15   pulled in.
16       Q.      What was the reason for going to your mom's
17   that night?
18       A.      I stayed there from time to time.
19       Q.      Okay.    And you -- you pulled into the
20   driveway.    How far down the driveway did you go?
21       A.      I went up the driveway pretty much to the
22   top of the driveway, and it was maybe enough for
23   four cars to park there.
24       Q.      How close did you park to the garage?
25       A.      Probably within 10 feet.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.      Did the police vehicle turn into the
 3   driveway?
 4       A.      It did.     It did.
 5       Q.      And how far did the police vehicle go up
 6   the driveway?
 7       A.      I don't immediately recall because I
 8   wasn't -- didn't pay attention to where he was
 9   parked at the time.         But I'm going to say maybe two
10   spots from the bottom, you know, of the driveway.
11       Q.      So perhaps there were two car lengths
12   between your stopped used vehicle and the police
13   vehicle?
14       A.      Perhaps.
15       Q.      Okay.    And did you get out of the vehicle
16   immediately?
17       A.      I turned the -- turned it off and got out
18   and -- yeah.      Started walking to the house.
19       Q.      Okay.    Did you look at the officer when you
20   got out of the vehicle?
21       A.      No.
22       Q.      What -- where were you looking when you got
23   out of the vehicle?
24       A.      Straight ahead.
25       Q.      Did you hear the officer?

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 1             RICHARD SPOSATO by MR. MULLIN

 2       A.   No.
 3       Q.   Did you hear the officer issue any commands
 4   or requests?
 5       A.   No.
 6       Q.   And describe the pace in which you walked
 7   to the -- to your house.
 8       A.   Just a normal pace because I can't run.
 9       Q.   Why can't you run?
10       A.   Because I got a bad leg, bad knee, bad
11   ankle.
12       Q.   Which leg?         Which ankle?
13       A.   My left.
14       Q.   And what's bad about it?
15       A.   I was in an auto accident back when I was
16   21, on the throughway.
17       Q.   Okay.
18       A.   I was broadsided by a car coming from the
19   other direction across the median, and as I'm on my
20   way to work, first day, and broadsided me and pretty
21   much killed me.       Didn't kill me, but could've very
22   easily been dead.        I shattered my femur, broke my
23   tibia, and you know, I had -- I've had complications
24   ever since.     And I had an ankle replacement and I
25   had a bad knee at the time.              So there was no -- I

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 1                RICHARD SPOSATO by MR. MULLIN

 2   can't run.
 3       Q.     Okay.    So you began walking towards the
 4   door.    What door did you enter to get into the
 5   house?
 6       A.     Well, the -- the side door on the house,
 7   that's really the garage side door, and then through
 8   the garage to the house.
 9                      MR. MULLIN:       I'm going to mark a
10              photograph that I will email to you
11              after the deposition to be officially
12              marked, and then we'll provide that to
13              you.
14                      (EXHIBIT NO. 1 WAS MARKED FOR
15              IDENTIFICATION.)
16   BY MR. MULLIN:
17       Q.     So I'm going to hand you what has been
18   marked as Exhibit Number 1.
19              Can you tell me what is shown in that
20   photograph, generally?
21       A.     My mom's house and the neighbor's house
22   and --
23       Q.     Okay.    So is it fair to say that's 510
24   North Orchard?
25       A.     Yes.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.      Okay.    And is that a fair and accurate
 3   photograph of what the house looks like?
 4       A.      Yes.
 5       Q.      Okay.    And is that the driveway that you
 6   pulled into on the day this incident occurred?
 7       A.      Yes.
 8       Q.      Okay.    And there's a car parked in the
 9   driveway.
10               Is that -- does that show, basically, where
11   you stopped, or were you in the other lane of the
12   driveway?
13       A.      That's about where I stopped, only not that
14   direction.    I was facing the house.
15       Q.      Okay.    That's fair.         That's fair.      Okay.
16   And does it show the door that you went into?
17       A.      It doesn't show the door.
18       Q.      Where would the door be as we look at that
19   photograph?
20       A.      On the right-hand side.
21       Q.      Perfect.     Okay.      Thank you, sir.
22       A.      Yep.
23       Q.      And I will email you that once the -- the
24   court reporter puts the official sticker on.
25               Okay?

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 1                RICHARD SPOSATO by MR. MULLIN

 2          A.   Okay.
 3          Q.   Now, you alleged that this prong contacted
 4   you.
 5               Where were you when that happened?
 6          A.   I was entering the door.              I -- you know,
 7   turned the knob and pulled the door to open it.
 8   And then as I was, you know, opening the door, I
 9   felt the bullet hit me in the back.
10          Q.   Okay.    Your papers refer to it as a bullet.
11               Do you believe it was a bullet?
12          A.   Type of bullet.
13          Q.   What type of bullet was it?
14          A.   A bullet -- a taser bullet.
15          Q.   Okay.    Do you still have it?
16          A.   No.
17          Q.   What did you do with it?
18          A.   I don't know.        Don't have it anywhere.
19          Q.   Okay.    Can't find it?
20          A.   Can't find it.
21          Q.   Oh, okay.
22          A.   It's been like three-and-a-half years.             I
23   have no clue.
24          Q.   All right.      So prior to that object coming
25   in contact with you, did you hear the officer

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 1             RICHARD SPOSATO by MR. MULLIN

 2   calling you?
 3       A.   I did not.
 4       Q.   Did you know who that officer was prior to
 5   this incident?
 6       A.   No.
 7       Q.   Was there anyone else outside that evening,
 8   did you see, witness this incident occur?
 9       A.   At the time I was -- I just saw him in the
10   car or whoever was in the car with him.                     I don't
11   know if there was anybody or not.                 And I just, you
12   know, saw a car follow into the driveway.                    I
13   continued to walk in the house.                Didn't pay any
14   attention to what was behind me and went in the
15   house.
16            And afterwards there turned out to be about
17   five or six cars coming onto the scene and who knows
18   how many people were there.              5, 6, 7, 8 cops from
19   different jurisdictions.            I don't know.           Causing a
20   big scene in the middle of the night.
21       Q.   Okay.       Let's -- let's stay focused to the
22   only issue that we're left in this lawsuit.
23       A.   Okay.
24       Q.   Which is the -- this incident that I'm
25   asking you about.        The -- did you see the officer

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 1                RICHARD SPOSATO by MR. MULLIN

 2   out of his car prior to being in contacted with that
 3   probe?
 4       A.      No.
 5       Q.      Did you -- did you hear the officer say
 6   anything?
 7       A.      No.
 8       Q.      And I may have asked this, I apologize, did
 9   you see him outside of the car?
10       A.      Not as I -- after I got out of my car and
11   going to the house, I did not see him exit the car.
12       Q.      Did you ever turn around and look to see
13   what the officer was doing?
14       A.      No.   Didn't pay any attention to him.
15       Q.      Do you have any hearing issues?
16       A.      I think I do.
17       Q.      Have you ever gone to a nose and throat
18   specialist and have any hearing tests?
19       A.      I've had a hearing test, yes.
20       Q.      When was the last time you had a hearing
21   test?
22       A.      Probably about six months ago or within the
23   past year.
24       Q.      And was there any prescription for a
25   hearing device or anything of that nature?

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 1                RICHARD SPOSATO by MR. MULLIN

 2       A.      No. Prescription, no.             But I think I --
 3   they said that I don't hear, I think, higher sounds
 4   right.    Like I -- he said that -- or she said maybe
 5   that I have trouble listening to women.                     Hearing
 6   women's voices maybe.          But, you know --
 7       Q.      Where was that examination?
 8       A.      Somewhere in Camillus.
 9       Q.      Was it a doctor's office or was it a -- was
10   it a hearing aid store?
11       A.      I don't know.        You know, they're kind of
12   one in the same, maybe.            I don't know.            There was a
13   professional hearing place.
14       Q.      Why did -- why did you go there?
15       A.      Because I, you know, maybe do sometimes,
16   you know, have trouble hearing.                Because you know,
17   there's always a ringing in my ear.                  So I do have
18   tinnitus.
19       Q.      Have you ever been to -- when's the last
20   time before this incident you had been to a doctor?
21       A.      Been to a doctor?          Like, what kind of
22   doctor?
23       Q.      Any doctor, for any care.
24       A.      Well, I believe I had regular doctors --
25   yearly office visits maybe, but I had my ankle

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 1                RICHARD SPOSATO by MR. MULLIN

 2   operated on.       I had my ankle replaced in 2018, I
 3   believe.
 4       Q.      But were you on any medication on June 19,
 5   2021?
 6       A.      I don't believe so.           I'm not on any
 7   medication now.       I'm --
 8       Q.      You just saved a question.               Thank you.   So
 9   after the prong was removed, did you experience any
10   pain in the following hour?
11       A.      Yeah.    It was sore.
12       Q.      And how long was it sore after the
13   incident?
14       A.      I can't remember if it was a couple days
15   before the actual soreness went away, but it was
16   sore.
17       Q.      Was there a bruise?
18       A.      Yes.
19       Q.      Just tell me what the bruise was.
20       A.      It was like a reddish, black, and blue
21   bruise.
22       Q.      Could you see it on your body?
23       A.      Yeah.
24       Q.      So you could -- was it on the front part of
25   your body or was it on the back side?

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 1                RICHARD SPOSATO by MR. MULLIN

 2       A.      The bruise?
 3       Q.      Yeah.
 4       A.      It was where the taser hit me.
 5       Q.      But could you see it without using a
 6   mirror?
 7       A.      No.
 8       Q.      Okay.    Did you receive any -- withdraw
 9   that.
10               Did anyone ever comment on the bruise that
11   you say you had?
12       A.      Did anyone ever comment?              I mean, I
13   don't -- not many people, if anybody, saw really the
14   bruise, per se.       I mean, that's on my back.              I wear
15   a shirt, so who's going to really see it?
16       Q.      All right.      So it's fair to say that no one
17   ever made fun of you because you had a bruise on
18   your back?
19       A.      No.
20       Q.      Okay.    Now, I'm going to show you what's
21   going to be marked as Exhibit 2.                 And take a minute
22   and look at that and then I'll ask you a question
23   about it.
24                       (EXHIBIT NO. 2 WAS MARKED FOR
25               IDENTIFICATION.)

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 1                RICHARD SPOSATO by MR. MULLIN

 2       A.      Okay.    It's hard to really make out.                I
 3   didn't read anything.          I'm just looking at the
 4   picture.
 5       Q.      All right.      Well, I just want to talk about
 6   the text.
 7               Okay?
 8       A.      Okay.
 9       Q.      Is that -- you had an opportunity to look
10   at Exhibit 2.       Is that a -- is that a Facebook post
11   that you created?
12       A.      That was.
13       Q.      And did you create that within five hours
14   of the incident itself?
15       A.      I don't believe so.           Either later that day
16   or the next day.
17       Q.      Okay.    But that is -- that is a post that
18   you created on your Facebook page?
19       A.      I did create that.
20       Q.      Okay.
21       A.      I don't know the exact time.                I can't
22   remember the exact time when it was created.
23       Q.      Same with Exhibit 3.            I'm going to give you
24   the document and ask you to take a moment and -- and
25   look at it.

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 1                RICHARD SPOSATO by MR. MULLIN

 2                       (EXHIBIT NO. 3 WAS MARKED FOR
 3               IDENTIFICATION.)
 4       A.      Okay.
 5       Q.      And is this another post you made on
 6   Facebook?
 7       A.      Yep.
 8       Q.      And in the bottom of the document is a --
 9   what appears to be a photograph.
10               Is that a photograph where the prong of the
11   taser came in contact with your body?
12       A.      I believe it's still in my body in that
13   picture.
14       Q.      What's in your body?            The photograph?
15       A.      No.    The taser.
16       Q.      What -- what do you -- what do you think --
17       A.      The bullet.
18       Q.      What do you think is in your body?
19       A.      The taser bullet, sticking to my back.
20       Q.      I thought you removed it?
21       A.      After I took the pictures.
22       Q.      So --
23       A.      I removed it after I took the picture.            I
24   took the picture with the bullet still in my back.
25       Q.      Okay.    Do you still have that photograph?

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 1             RICHARD SPOSATO by MR. MULLIN

 2       A.   I don't believe so.           No.
 3       Q.   What did you take the photograph with?
 4       A.   With a phone.
 5       Q.   Do you save your photographs?
 6       A.   Sometimes.
 7       Q.   All right.      I'm going to ask you to make a
 8   search of your photographs that you've saved and ask
 9   you to produce that photograph as shown in Exhibit 3
10   if you still have it.
11            Okay?
12                    (Request indexed.)
13       A.   Okay.
14       Q.   Now, I think that's all that.                   And do you
15   agree with me in -- on Exhibit 3 that you stated you
16   didn't notice my headlights weren't on.
17            Do you recall stating that in that text?
18       A.   Well, it's there written.
19       Q.   So do you agree with me that you're
20   reporting that your headlights were not on?
21       A.   I'm not saying that they were on, but there
22   is lights on that maybe aren't headlights.                  So there
23   is some lights that are on.
24       Q.   I'm just asking about the headlights.
25       A.   Yeah.    Yeah.

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 1               RICHARD SPOSATO by MR. MULLIN

 2         Q.   And -- and you say, "I didn't notice my
 3   headlights weren't on."
 4              Do you still hold to that statement?
 5         A.   Yeah.
 6         Q.   Okay.    And on Exhibit 2, you made the same
 7   statement when you were describing this incident, "I
 8   just didn't notice if my headlights weren't on."
 9              Do you see that on Exhibit 2?
10         A.   Right.
11         Q.   And that's an accurate statement, that you
12   didn't notice the headlights were not on, correct?
13         A.   Well, that's what the cop said.                 He pulled
14   me over because --
15         Q.   No.   I'm asking you about what you're
16   saying here on Exhibit 2.            You stated your
17   headlights weren't on, correct?
18         A.   I'm saying I didn't notice that they
19   weren't on.
20         Q.   You didn't put "if," you said they weren't
21   on.   You agree?
22         A.   I'm just going by what the -- what the
23   officer stated.
24         Q.   No.   No.    No.     But I'm asking you, you made
25   two statements and two postings that you didn't

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 1                RICHARD SPOSATO by MR. MULLIN

 2   notice your headlights weren't on.                 And I'm asking
 3   you, do you still stand by your statement that
 4   you -- the two statements you posted, that your
 5   headlights weren't on?
 6       A.     Well, the reason why I said that they
 7   weren't on was because the officer said that they
 8   weren't on when he called me.
 9       Q.     Do you say that in your posts?
10       A.     I said that in my post because that's --
11   I'm just going by what he told me.
12       Q.     All right.      All right.         Now, some standard
13   questions.    Criminal record.
14              Have you ever been convicted of a crime?
15       A.     It depends on what you consider a crime.
16       Q.     Well, let's start with the misdemeanor of
17   driving while intoxicated.
18       A.     Well, that's not a crime, that's an
19   offense.
20       Q.     It's a misdemeanor crime.
21       A.     That's not a crime.           In my mind, a crime is
22   when somebody's injured or property is damaged.
23   That's a crime in my book.
24       Q.     All right.      So did you plead guilty to
25   driving while intoxicated?

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 1                RICHARD SPOSATO by MR. MULLIN

 2       A.      No.
 3       Q.      Were you convicted after a trial of driving
 4   while intoxicated?
 5       A.      The jury convicted me of driving while
 6   intoxicated.      While at the same time, said that I
 7   was not guilty of 0.08 or above.                 So it is, you
 8   know, for them to make that decision that I was,
 9   okay, guilty of DWI when they said that I was not
10   guilty of being 0.08 or above.               That's kind of
11   really --
12       Q.      That's another legal exercise that I'm not
13   going to give you the answer to.
14               And as a result of that, you were ordered
15   to have an interlock device on your used automobile,
16   correct?
17       A.      I was ordered to have one for a year if I
18   owned one or used one.
19       Q.      And did your used automobile, on the night
20   in question, have an interlock system on it?
21       A.      It didn't have an interlock system on it
22   because the year had already expired.
23       Q.      After your New York State driver's license
24   was revoked following your conviction for driving
25   while intoxicated, did you ever apply for a new

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 1                RICHARD SPOSATO by MR. MULLIN

 2   license?
 3       A.     I was not allowed to.
 4       Q.     Who prevented you from applying for a new
 5   license?
 6       A.     The newly created ex post facto laws
 7   prevented me from applying for a new license,
 8   because they determined that originally it was 25
 9   years for more than one -- for three convictions.
10   Then they reduced it to 15 years for three
11   convictions.     All right.         So I was not allowed to
12   reapply for a license.           And after looking -- reading
13   through the laws and the wording -- the exact
14   wording of the laws, I come to my determination that
15   the driver's license is really only needed for
16   commercial purposes.
17       Q.     Okay.     We're not that -- that's already
18   been decided.      We're not going to talk about that.
19       A.     Of course we're not.
20       Q.     The court's already ruled on that.
21       A.     Yeah.     Another bad ruling.
22       Q.     I'm going to show you what's been marked as
23   Exhibit 4.    And is this a photograph that you were
24   describing in the Facebook post?                 A copy of it
25   obviously.

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                                                                      46


 1               RICHARD SPOSATO by MR. MULLIN

 2                      (EXHIBIT NO. 4 WAS MARKED FOR
 3              IDENTIFICATION.)
 4       A.     Yeah.
 5       Q.     With the prong still attached to your body?
 6       A.     Right.    You can see how it's through the
 7   shirt.    So whether there's a hole through the shirt
 8   or not, I would imagine there's a hole in the shirt,
 9   but it's sticking in my body.              Yes.
10       Q.     Okay.    And who took this photograph?
11       A.     I believe I did.
12       Q.     Okay.    And you did it that evening?
13       A.     Yeah.
14       Q.     And you did it before you removed the
15   prong?
16       A.     It was not that morning.               It was more
17   evening than morning.
18       Q.     Sure.    Thank you for correcting me.            You --
19   you took this before removing the prong; is that
20   correct?
21       A.     That's kind of obvious, isn't it?
22       Q.     I'm just making a record for -- for my
23   motion.    Okay?
24       A.     Yeah.
25       Q.     Okay.    And what was the purpose of taking

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                                                                 47


 1                RICHARD SPOSATO by MR. MULLIN

 2   that photograph?
 3          A.   Just to have a record that I was actually
 4   shot with a taser.
 5          Q.   Why did you think you needed a record?
 6          A.   It's for some proof at some time that I was
 7   hit.
 8          Q.   Going to show you what's been marked as
 9   Exhibit Number 5.        This is a copy of a photograph.
10               Did you also take this photograph?
11                       (EXHIBIT NO. 5 WAS MARKED FOR
12               IDENTIFICATION.)
13          A.   I did.
14          Q.   And what did that photograph show?
15          A.   That's the taser bullet, dart, whatever you
16   want to call it -- prong, that was in my back.
17          Q.   Okay.    And you took it after -- you took
18   that photograph after removing it from your back?
19          A.   It's not in my back.
20          Q.   Okay.    And you took it that morning?
21          A.   I did.
22          Q.   Okay.    Did you take any photograph of any
23   of the bruises that you described in your testimony
24   today?
25          A.   I can't recall.         I mean, there's --

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                                                                          48


 1                RICHARD SPOSATO by MR. MULLIN

 2   whatever was there.         I don't know if there was any
 3   other photos a day or two later.                 I'm not positive.
 4   I can't recall.
 5       Q.      All right.      I'd ask you to produce any
 6   photographs that you can find that show the bruising
 7   that you took shortly after you removed the prong.
 8   Thank you.
 9                     (Request indexed.)
10       A.      You are aware of that I was not arrested on
11   that day?
12       Q.      It's not relevant for the purposes of this
13   lawsuit, sir.
14       A.      Well --
15       Q.      The arrest charge.           The arrest charge has
16   been -- that issue's gone.             All we're here for is
17   the question of whether there was excessive force
18   used on you pursuant to the --
19       A.      Any time you get shot with a taser before
20   you're arrested, that's excessive force.
21       Q.      Now, as a result of this taser incident,
22   are you out of any out-of-pocket expenses for
23   medical, or psychiatric, or social work, counseling?
24       A.      Not any out-of-pocket expenses related to
25   any hospital, you know, medical treatments.                 No.

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 1             RICHARD SPOSATO by MR. MULLIN

 2       Q.   Any expenses as a result of this prong
 3   outside of medical or psychological?
 4       A.   Outside of psychological?
 5       Q.   Yeah.      Did you have to spend anything
 6   because of this prong striking you?
 7       A.   Outside of damaging my reputation, I don't
 8   have any, you know, out-of-pocket expenses that I
 9   can --
10       Q.   Okay.
11       A.   -- provide.
12       Q.   How did the prong use damage your
13   reputation?
14       A.   This whole incident damaged my reputation.
15       Q.   Let's -- let's break it down.                     How did the
16   prong use damage your reputation?
17       A.   It created a police incident.
18       Q.   And how did that impact your reputation?
19       A.   Because being a businessman, anytime you're
20   involved in police interaction, it damages your
21   reputation.
22       Q.   Give me an example of the damage.
23       A.   Because people tend to not want to be
24   associated with people involved with, you know,
25   police issues.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.      And who -- who -- give me an example of how
 3   that actually impacted you?
 4       A.      Because I had to spend all this time for
 5   three years now on a case trying to clear my name,
 6   that I could be spending on actually doing business.
 7       Q.      Well, that's your choice to litigate this;
 8   is it not?
 9       A.      Well, if somebody damages you, you're not
10   going to follow through with trying to get
11   retribution?
12       Q.      All right.      Let's talk about the damage
13   your -- you -- what damage to your reputation has
14   occurred?    Give me an example of where your
15   reputation was damaged.
16       A.      It was damaged in the community.
17       Q.      Give me an example.
18       A.      Okay.    Shot me with the police taser.
19   The -- the officer said that he knew me.
20       Q.      So how did that damage you?
21       A.      Well, because if he knew me, why would he
22   shoot me?
23       Q.      Well, how did that damage you -- your
24   reputation wise?
25       A.      Because anytime that a high-profile person

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                                                                        51


 1                RICHARD SPOSATO by MR. MULLIN

 2   that has a worldwide brand in the bowling industry,
 3   similar to Andre owning Reebok or something to that
 4   effect, was my bowling ball company and nightclub.
 5   Okay?   That I'm getting reported in the paper --
 6   newspaper.
 7       Q.    What newspaper was this in?
 8       A.    Well, aren't all police actions reported in
 9   the newspaper?
10       Q.    Did you ever see this in the newspaper?
11       A.    I -- I don't know.            It's -- possibly.    I
12   believe it was.      I'd have to go dig it up.
13       Q.    Did anyone ever tell you they saw it in the
14   newspaper?
15       A.    Yeah.     Whether I -- I don't know if anybody
16   told me -- whether my mom told me that it was in the
17   newspaper or not, I don't know.               But whether people
18   tell me it is or it isn't, is not really an issue
19   because it is there.         It is out there in public.
20             Okay.     So if your name is out there in
21   public, okay, being arrested, shot with a taser, and
22   all these charges jacked up on you that are
23   irrelevant and been dismissed.
24             Okay.     So now they arrested me, put me in
25   jail, booked me, fingerprinted me, put my name in a

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                                                                         52


 1                RICHARD SPOSATO by MR. MULLIN

 2   newspaper in a police blotter.               I'm sure.      Quite
 3   sure.   I can't guarantee for sure, but that's
 4   usually how things happen.             Okay.      That's a damage
 5   to people's reputation.
 6          Q.   Who has told you they saw it in the
 7   newspaper?
 8          A.   I can't recall anybody telling me that they
 9   saw it in the newspaper because they might not tell
10   you that they saw it.          But people do see it.
11          Q.   What's the name of your bowling company?
12          A.   It's right there in my card.
13          Q.   What's --
14          A.   Lane Number One, Inc.
15          Q.   And where is that incorporated?
16          A.   It's incorporated in New York State.
17          Q.   Okay.    And who has contacted Lane Number
18   One and discussed the fact that a taser was used on
19   you?
20          A.   I don't recall.
21          Q.   As you sit here today, can you recall
22   anyone that has contacted your company and asked
23   about this incident that occurred on June 19, 2021?
24          A.   No.   But people tend to just not deal with
25   people that have police issues.

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 1             RICHARD SPOSATO by MR. MULLIN

 2       Q.   All right.      And are you aware of anyone who
 3   has chosen not to deal with you because of the
 4   incident that occurred on June 19, 2021?
 5       A.   I'm not aware of if anybody chose not to
 6   deal with me.
 7       Q.   All right.
 8       A.   Not aware of --
 9       Q.   And is it your opinion that Lane Number One
10   has a standing in the world equal to -- I think you
11   said Reebok or some other shoe company; is that
12   where your company stands?
13       A.   At one time it was up there.
14       Q.   What time was that?
15       A.   Oh, in mid-2000s and early 2000s, you know.
16       Q.   What were you selling?             Designs?     Or were
17   you selling actual bowling balls?
18       A.   Actual bowling balls.
19       Q.   What was the most amount of bowling balls
20   that were sold by Lane Number One?
21       A.   In one year?
22       Q.   Yep.
23       A.   Roughly 20,000 high-performance bowling
24   balls with a sales of 2.5 million year sales.               Four
25   years in a row, over 2 million.

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 1              RICHARD SPOSATO by MR. MULLIN

 2       Q.    As of 2019, was the corporation still
 3   active?
 4       A.    Yes.
 5       Q.    Were you filing tax returns for the
 6   corporation?
 7       A.    They were filed, yes.
 8       Q.    You filed for 2019?
 9       A.    Yes.
10       Q.    2020?
11       A.    Yes.
12       Q.    What was the profits in 2018 for this
13   corporation?
14       A.    Minimal.
15       Q.    When you say minimal, what's that?
16       A.    Probably under 15,000.
17       Q.    And in 2019?
18       A.    Similar.
19       Q.    In 2021 or 2022?
20       A.    Similar.
21       Q.    So the -- so the income didn't change
22   before or -- withdraw that.
23             Income didn't change after this incident
24   did it?
25       A.    I'm not saying that the income -- I'd have

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 1                RICHARD SPOSATO by MR. MULLIN

 2   to look at the records to be even exact, but I can't
 3   quite remember.
 4          Q.   As I look at Exhibit Number 2, you made a
 5   post reporting this incident to the public; did you
 6   not?
 7          A.   I did.
 8          Q.   Okay.    And -- and below the post it appears
 9   there was a video.         What was the video of, do you
10   recall?
11          A.   The police in my mom's driveway.
12          Q.   Okay.    So the -- the response to the
13   incident you made a video of?
14          A.   Correct.
15          Q.   And that video was made with your phone?
16          A.   Correct.
17          Q.   And you videoed from inside the house?
18          A.   Correct.
19          Q.   And you refused to come out to address the
20   matter with the officer; is that correct?
21          A.   Correct.
22          Q.   All right.      We're going to just take a
23   couple minute break, if you don't mind.                     We'll be
24   right back and we're going to go off the record now.
25                       (Brief recess.)

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                                                                       56


 1             RICHARD SPOSATO by MR. MULLIN

 2   BY MR. MULLIN:
 3       Q.   Sir, when you made the posting to the
 4   public as shown in exhibit -- as shown in Exhibit 2,
 5   do you know how many followers you had on Facebook
 6   at the time?
 7       A.   How many followers?              I don't know how many
 8   followers I had or friends.              I don't if that's the
 9   same as followers.
10       Q.   And how -- you know, how many people did
11   you interact with on Facebook then?
12       A.   I don't know what you mean by how many
13   people I interacted with.             I have -- I had a friends
14   list.
15       Q.   Okay.       And how large was it?
16       A.   It was around, at the time, probably close,
17   if not slightly over, 3,000.
18       Q.   Okay.       And you felt it was necessary at the
19   time to describe this incident as described on
20   Exhibit 2, correct?
21       A.   Yes.      I felt this necessary to say -- to
22   show the people what's going on and how the police
23   authority is being wielded against the people.
24       Q.   And did you have any concern about your
25   reputation or your business by reporting this matter

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 1                RICHARD SPOSATO by MR. MULLIN

 2   to the public?
 3       A.     I feel this knowledge is important to be
 4   out there.
 5       Q.     And did anyone who read your post contact
 6   you and humiliate you?
 7       A.     I believe there was more people who
 8   commented and, yes, they do humiliate me.
 9       Q.     And do you -- and can you give me an
10   example of one?
11       A.     Yes.   They called me a pedophile because
12   prior, like 20 years ago, back in 1999, okay?
13   Onondaga County chose to try to prosecute me having
14   sex with an underage girl, when in fact, she lied
15   about her age.      And instead of going after the
16   parents for endangering the welfare of the child,
17   they chose to attack a business owner at the time,
18   who hires people, and jobs who's helping people.
19   Who's very successful.
20              And that's how Onondaga County chose to
21   operate.   Rather than protect its asset citizens,
22   they chose to tear them down instead.                  Letting, you
23   know, parents who don't watch over their kids go out
24   at night, lie about their age, who they are,
25   impersonating adults, and choosing to destroy the

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 1              RICHARD SPOSATO by MR. MULLIN

 2   reputation of hardworking people.
 3       Q.    Did that have anything to do, to your
 4   knowledge, to Officer Ryan's acts that evening?
 5       A.    Did what have anything to do with it?
 6       Q.    The actions, this investigation that you're
 7   describing about pedophilia, did that have any role
 8   in the stop attempted by Officer Ryan?
 9       A.    I don't know.        He said he knew me.        So how
10   does he know me?      Does he know me as a professional
11   bowler?   Hall of fame bowler that has a bowling
12   business across the world?           Or does he know me
13   through police interactions?
14       Q.    What hall of fame are you in?
15       A.    Syracuse Bowling Hall of Fame.
16       Q.    When were you inducted?
17       A.    I don't know the exact year right now.
18   But --
19       Q.    Before or after this incident?
20       A.    Before.
21       Q.    Before or after this pedophile incident
22   that you're talking --
23       A.    After.
24       Q.    So it obviously didn't impact your standing
25   in the community, did it?

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 1                RICHARD SPOSATO by MR. MULLIN

 2          A.   Yes, it does.
 3          Q.   The pedophilia incident?
 4          A.   Yes.    I get -- I used to get labeled and --
 5   and you know, all -- all the time people get shit
 6   like that, because that's the news that's been on
 7   and the reporting that has been on in this county.
 8   And the talk that goes on behind my back.
 9          Q.   Are you a registered pedophile in the
10   state?
11          A.   I am not, currently.
12          Q.   Were you?
13          A.   I was on the registry list.
14          Q.   For what period of time?
15          A.   For -- originally, it was 10 years and then
16   they enacted ex post facto laws to make it 20 years.
17          Q.   Okay.    So when did you get off the list?
18          A.   Like, 2019 or '20.
19          Q.   Okay.    The driving while intoxicated
20   incident, that occurred in when?                 2018?
21          A.   Yeah.    Again, by Salvoy Police in my mom's
22   driveway, once again.          After I was already home.
23          Q.   The Salvoy police arrested you for that
24   DWI?
25          A.   Yes.    Yeah, again, hiding behind Patrick's

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 1             RICHARD SPOSATO by MR. MULLIN

 2   Dry Cleaners, jacking people coming home at night
 3   after supporting local business after a hard week's
 4   worth of work.    You know, that go out at night to
 5   have some -- have some entertainment.
 6       Q.   On the evening of June 18, 2021, did you
 7   consume any alcoholic beverages?
 8       A.   On that evening?
 9       Q.   Yes.
10       A.   I probably did have some.
11       Q.   Do you recall where you were before this
12   stop occurred?
13       A.   I believe it was -- I don't know, it was
14   either Dinosaur Barbecue or it was at Studio 54.         I
15   can't -- I don't remember offhand.
16       Q.   Okay.    And did you believe you were
17   impaired by alcohol at the time you were riding in
18   your used automobile?
19       A.   No.     I was not.
20       Q.   When was the last alcoholic beverage you
21   consumed that evening?
22       A.   I don't recall.
23       Q.   How many did you have?
24       A.   I don't recall.
25       Q.   Did you hear the officer when he was in

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 1               RICHARD SPOSATO by MR. MULLIN

 2   your driveway giving you commands to stop?
 3       A.     No.
 4       Q.     Did you hear him yelling at you to show you
 5   -- show your hands?
 6       A.     No.
 7       Q.     And is your testimony, you walked at normal
 8   speed to your garage door; is that correct?
 9       A.     Correct.
10       Q.     Why wouldn't you come outside and resolve
11   the issues that were being investigated at the time?
12       A.     Because I don't like the Salvoy Police.
13       Q.     Did you believe Officer Ryan was a Salvoy
14   police officer at the time?
15       A.     Yes.
16       Q.     Do you recall Officer Ryan calling you
17   after the incident that evening?                Or that early
18   morning?
19       A.     Yes.
20       Q.     Do you recall him asking you, that if you
21   needed medical attention?
22       A.     Yes.
23       Q.     And what did you tell him when he asked to
24   offer you medical attention?
25       A.     I don't need any.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.     Do you recall telling him -- telling him
 3   that you were a sovereign citizen and you did not
 4   have to obey the laws of the state?
 5       A.     No.   I never said I was a sovereign
 6   citizen.   It's his postulation.
 7       Q.     What did you tell him then?
 8       A.     I told him about my beliefs on the law.
 9   The laws that are written.
10       Q.     The ones that we discussed earlier about
11   speeding and things of that nature?
12       A.     No.   About licensing.
13       Q.     Okay.    What was the issue about the
14   licensing?
15       A.     What was what?
16       Q.     What was the issue you told the officer
17   about the licensing?
18       A.     Probably that we don't need one because the
19   way the laws are written, they only actually pertain
20   to commercial vehicles even though the courts,
21   maybe, tried to rule against that.
22              But the actual wording of the -- of the
23   codes and statutes reflect that only commercial
24   vehicles need to be registered and you don't need a
25   license because these are just basically auto horses

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 1             RICHARD SPOSATO by MR. MULLIN

 2   that you don't need a license for.               Because they
 3   infringe on our right to travel.
 4       Q.   Okay.
 5       A.   And that was confirmed by the DMV response
 6   to my question that I asked him.
 7       Q.   DMV told you, you didn't have to register
 8   the motor vehicle?
 9       A.   And in other words said that when I asked
10   the question, is an individual with a Class D
11   license permitted to operate a motor vehicle?              They
12   stated, "Yes.    As long as they're accompanied by a
13   licensed driver."     Well, if somebody has a Class D
14   license, they don't need to be accompanied by
15   anybody because they have a license.
16            You probably rode here by yourself with a
17   Class D license.     You don't need to be accompanied.
18   So if they said that you need to be accompanied by a
19   licensed driver, if you only have a Class D license,
20   then that must tell you that the car that you're in
21   is not a motor vehicle.
22       Q.   On the night -- in the early morning hours
23   of June 19, 2021, was your used automobile
24   registered under New York State Law?
25       A.   Nope.

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 1                RICHARD SPOSATO by MR. MULLIN

 2       Q.      Did you carry liability insurance on your
 3   used automobile?
 4       A.      It's not required.
 5       Q.      And was the vehicle inspected by a licensed
 6   motor vehicle garage or licensee for operation on
 7   the roads?
 8       A.      Used automobile, they're not required to be
 9   inspected, or registered, or insured.
10       Q.      And did you have a plate on the vehicle
11   that was PR1V4T3?
12       A.      Yes.    I had a vanity plate that notified
13   that anybody -- that this is a private automobile
14   not registered with the state, therefore not within
15   the jurisdiction of police officers.
16       Q.      So what was the meaning of PR1V4T3?                What
17   does that mean?
18       A.      It's a visual to look like "private."
19       Q.      And did you have that made somewhere?
20       A.      I didn't have it made.             I bought it off the
21   internet.
22       Q.      Okay.
23       A.      I was trying to notify the police that this
24   is a private automobile and that is not under any
25   contract within the DMV or the state.                   That it's my

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 1                RICHARD SPOSATO by MR. MULLIN

 2   private property, no different than an auto -- a
 3   bike or personal live horse to travel in to go about
 4   my day.     That is our right to liberty in this
 5   country.
 6          Q.   And if the officer was in the driveway
 7   requesting you stop and show your hands, do you
 8   believe you had a right to ignore those commands?
 9          A.   At that time, if he said that, which I was
10   not aware of any of those commands, yes.                    Because
11   if -- if I didn't commit a crime, I don't have to
12   stop.   The law says you don't have to stop and talk
13   with police.
14          Q.   Okay.    And if you did commit a crime, would
15   you have stopped?
16          A.   If I did commit a crime, which to me a
17   crime is endangering or -- or injuring someone or
18   damaging property, then yes, I would've stopped.
19          Q.   And your actions that evening didn't amount
20   to those?
21          A.   Correct.
22          Q.   So basically, it's your interpretation of
23   what a crime is, would determine whether you would
24   comply with the officer's requests; is that fair to
25   say?

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 1               RICHARD SPOSATO by MR. MULLIN

 2       A.     Well, I live under God's laws.                   I conduct
 3   myself in a very mindful way that I don't infringe
 4   upon people.     I don't hurt people.               I don't damage
 5   people.    I mind my own business and go about my day
 6   trying to enjoy my life, liberty, and pursuit of
 7   happiness, while working and trying to improve life
 8   in society around me.
 9              That's my mantra.           That's why I live under
10   God's laws.     The 10 commandments; don't lie, cheat
11   rob, steal, kill, commit adultery, don't injure
12   anybody.   Then I'm free to go about my life as we
13   are in this country.          Supposedly being able to do as
14   declared in the Declaration of Independence, you
15   know, to go about our life's freedom in this
16   country.
17       Q.     So then it's your interpretation of what
18   crimes you would stop for, as opposed to someone
19   else's interpretation of what the crime is?
20       A.     Well, where's the definition of a crime?
21       Q.     So there was pain after the prong hit you.
22   Did you suffer any economic damages that you can
23   prove to me today?
24       A.     Aside from mental damages, damage to, you
25   know, what I'm having to go through.                   Expenses of

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 1                RICHARD SPOSATO by MR. MULLIN

 2   this litigation that I have to incur with all my
 3   time invested involved to right myself of this
 4   wrong?   That's -- I -- I -- it's hard to put a
 5   number on.
 6       Q.     Okay.
 7       A.     So two-and-a-half years that they put me
 8   through this.      Dragged me in and out of court
 9   two-and-a-half years, okay, to -- all to drop the
10   charges.
11       Q.     The charges are not an issue at this time.
12       A.     Well, I know they're not an issue, but
13   there is no charges.         I wasn't guilty of anything.
14   Yet, I was shot in the back with a taser and not
15   even arrested.      So how is it that cops are going
16   around shooting people and not even being arrested?
17   How is that even allowable in this country?
18       Q.     What do you mean you were not arrested?
19       A.     I was not arrested.
20       Q.     There were charges filed and you appeared
21   in court on those charges.
22       A.     Okay.    I was not arrested that day.
23       Q.     Okay.
24       A.     So I was -- this was prior to my arrest.
25       Q.     Okay.

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 1                RICHARD SPOSATO by MR. MULLIN

 2          A.   Which the arrest turned out to be frivolous
 3   because everything was dropped.
 4          Q.   And you devoted a lot of personal time in
 5   pursuing this litigation, correct?
 6          A.   I devoted -- yes.          A lot of time to right
 7   myself and to, you know, show the people and this
 8   country how corrupt this government is, and how
 9   tyrannical these police are, violating our rights.
10   Yes.    I stand for our rights.             Just like, you know,
11   just like our military, you know, fighting for our
12   freedoms overseas.         I'm over here freedom fighting,
13   you know, on our own soil.             Battling through the
14   courts to prove our freedom.              To keep our freedom
15   that our military's fighting for.
16          Q.   And the freedom that you feel infringed
17   upon that evening and early morning hours, was your
18   freedom to travel on West Genesee Street and Orchard
19   -- was it Orchard road?
20          A.   Yeah.    North Orchard Road.
21          Q.   North Orchard Road.           At a speed that you
22   deemed to be appropriate?
23          A.   I was definitely on a prudent speed.
24   Okay?    Appropriate for the conditions of the
25   roadway.    There was -- there's nobody even on the

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                                                                  69


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 2   road that night.
 3       Q.      And you were free to drive without
 4   headlights on?
 5       A.      I wasn't driving.
 6       Q.      Were you free to operate your used
 7   automobile without headlights on?
 8       A.      Okay.    It was an inadvertent mistake
 9   that -- that they weren't on that, that the officer
10   said they weren't on.          Because obviously the roads
11   are well lit.       Because I didn't notice them not
12   being on and was able to make it home safely in my
13   driveway with no problem.
14       Q.      Okay.    Is there anything else you want to
15   tell me about this claim before we complete this
16   deposition?     Or have we covered everything?
17       A.      To tell you about this claim?
18       Q.      To the use of force.
19       A.      Yeah.    The use of force was wielded against
20   me before I was arrested.
21       Q.      Okay.
22       A.      Okay.    And it was unjust that it was
23   excessive, that there was no danger to the cops.
24   That -- that for me, for the supposed incident that
25   happened.    Okay.      Using a taser on me, it was

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                                                                               70


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 2   unnecessary and excessive.
 3          Q.   Okay.    Anything else you want to add?
 4          A.   Yeah.    I shouldn't even have to be going
 5   through this.       I'm sick of it, to be honest with
 6   you.   That I have to spend all this time, money and,
 7   you know, having to go through this all because cops
 8   want to, you know, violate our rights.                      You know,
 9   I'm just out there enjoying -- trying to enjoy life
10   and liberty.     Okay?      Supporting local business at
11   night and the cops are out there trying to ruin
12   everything for everybody.             And they can tell there's
13   no nightlife anymore.          All the clubs are shut down
14   basically to what we used to have.
15               And we're living in a fricking jail with no
16   cell, with no bars.         An invisible jail.               The police
17   that are out there, just revenue generating and
18   damaging the people, damaging the assets.                     Okay?
19   I'm a highly intelligent, you know, person.                     Okay?
20   That does a lot of good in this country.                     Does a lot
21   of good in this town.          Okay?      Starting business,
22   remodeling buildings, bringing in money worldwide,
23   coming from overseas, bringing in money to this
24   county.     And all they want to do is just fricking
25   put me down, destroy me.            No, I'm sick of it.

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                                                                         71


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 2       Q.   Okay.    Thank you, sir.          Okay.        We're all
 3   done.
 4                    (Deposition concluded.)
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                                                                                     72


1
2    AFFIDAVIT:
3
4    STATE OF NEW YORK
5    COUNTY OF          ONOtip'46,4
6
7
8                      I have read my deposition, and the
9            same is true and accurate, save and except
10           for changes and/or corrections, if any,
11            as indicated by me on the correction sheet
12            attached hereto.
13
14
15                                             RICHARD SPOSATO
16
17
18                       SUBSCRIBED AND SWORN TO before me this
19                 DI7CSI4I
                          day       of      kk0)16‘..                  , 20   0-S.
20
21         Vanessa M MacDougall
             Lic# 01MA6278726
          Notary Public State of NY
22       Qualified in Oswego County 4.0.„
      My Commission Expires 03/25/20 /.."
23                                                      NOTARY PUBLIC
24
25     My commission expires on                     3- 2C-202.5-

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1
2    ERRATA SHEET:
3    Case: Richard Sposato vs. Carey, et al.
4    Witness: Richard Sposato
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7                 7     c         C/O A), (9/2-ciwz-i)
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 1
 2   ERRATA SHEET (continued):
 3
 4   Page   Line       Correction and reason
 5   ____   ____ _________________________________________
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                                                                75


 1
 2   CERTIFICATION:
 3   STATE OF NEW YORK
 4   COUNTY OF STEUBEN
 5        I, RENAYE SIRIANNI, the officer before whom the
 6   foregoing deposition was taken, do hereby certify
 7   that the witness whose testimony appears in the
 8   foregoing deposition was duly sworn by me.
 9        I further certify that the testimony of said
10   witness was taken by me in Stenotype and thereafter
11   reduced to typewriting under my supervision.
12        I further certify that the said deposition
13   constitutes a true record of the testimony given by
14   said witness to the best of my ability.
15        I further certify that the said deposition was
16   taken before me at the time and place specified in
17   the notice.
18        I further certify that I am neither counsel
19   for, related to, nor employed by any of the parties
20   to the action in which this deposition was taken,
21   nor financially or otherwise interested in the
22   outcome of the action.
23
24                 ____________________________________
25                 RENAYE SIRIANNI, Notary Public

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                                                                                                                                      1

          '                                    active [1] - 54:3      45:4, 45:7                                 29:10, 40:8
                                 3                                                                 B
                                               acts [1] - 58:4       Appropriate [1] -                          bought [1] - 64:20
'20 [1] - 59:18        3 [4] - 39:23, 40:2,    actual [3] - 37:15,    68:24                bad [6] - 30:10,     bowler [3] - 10:7,
'21 [1] - 10:20         41:9, 41:15             53:17, 62:22         appropriate [2] -      30:14, 30:25,        58:11
                       3,000 [1] - 56:17       Actual [1] - 53:18     25:10, 68:22          45:21               Bowling [1] -
          0            30 [5] - 25:5, 25:7,    add [1] - 70:3        area [1] - 24:24      ball [3] - 10:4,      58:15
                        26:23, 26:24,          address [3] -         arises [1] - 10:14     10:9, 51:4          bowling [12] -
0.08 [2] - 44:7,        27:16                   8:16, 8:17,          arrest [4] - 48:15,   balls [6] - 10:10,    10:4, 10:9,
 44:10                 35 [1] - 26:25           55:19                 67:24, 68:2           10:11, 53:17,        10:10, 10:11,
                                               admitting [1] -       arrested [11] -        53:18, 53:19,        51:2, 51:4,
          1                      4              21:10                 48:10, 48:20,         53:24                52:11, 53:17,
                                               adultery [1] -         51:21, 51:24,        bandaid [3] -         53:18, 53:19,
1 [2] - 31:14,         4 [2] - 45:23, 46:2      66:11                 59:23, 67:15,         14:24, 15:2,         53:23, 58:11
 31:18                 40 [1] - 26:22          adults [1] - 57:25     67:16, 67:18,         15:6                brand [1] - 51:2
1/10th [1] - 25:11                             afterwards [3] -       67:19, 67:22,        Barbecue [1] -       break [2] - 49:15,
10 [3] - 28:25,                  5              14:7, 18:4,           69:20                 60:14                55:23
 59:15, 66:10                                   34:16                aside [1] - 66:24     bars [1] - 70:16     Brief [1] - 55:25
13209 [1] - 8:18       5 [3] - 34:18, 47:9,    age [2] - 57:15,      asset [1] - 57:21     bathroom [1] -       bringing [2] -
15 [2] - 12:22,         47:11                   57:24                assets [1] - 70:18     16:7                 70:22, 70:23
 45:10                 510 [2] - 8:17,         ago [2] - 35:22,      associated [1] -      battling [1] -       broadsided [2] -
15,000 [1] - 54:16      31:23                   57:12                 49:24                 68:13                30:18, 30:20
18 [2] - 9:19, 60:6    54 [1] - 60:14          agree [3] - 41:15,    attached [5] -        become [1] - 26:2    broke [2] - 13:13,
19 [7] - 9:19,                                  41:19, 42:21          13:8, 13:24,         began [1] - 31:3      30:22
 10:15, 10:20,                   6             ahead [2] - 20:12,     15:3, 16:18,         behind [8] - 22:7,   bruise [7] - 37:17,
 37:4, 52:23,                                   29:24                 46:5                  22:18, 26:3,         37:19, 37:21,
 53:4, 63:23           6 [1] - 34:18           aid [1] - 36:10       attack [1] - 57:17     26:6, 28:9,          38:2, 38:10,
1982 [1] - 9:6                                 alcohol [1] -         attempted [1] -        34:14, 59:8,         38:14, 38:17
1999 [1] - 57:12                 7              60:17                 58:8                  59:25               bruises [1] -
                                               alcoholic [2] -       attention [7] -       beliefs [1] - 62:8    47:23
                       7 [1] - 34:18
          2                                     60:7, 60:20           25:18, 25:23,        below [2] - 11:12,   bruising [2] -
                                               alleged [1] - 33:3     29:8, 34:14,          55:8                 15:23, 48:6
2 [10] - 38:21,                  8             allowable [1] -        35:14, 61:21,        belt [3] - 11:12,    buildings [1] -
 38:24, 39:10,                                  67:17                 61:24                 11:13, 11:14         70:22
 42:6, 42:9,           8 [1] - 34:18
                                               allowed [5] - 7:13,   authority [1] -       between [1] -        bullet [11] - 33:9,
 42:16, 53:25,                                                        56:23                 29:12                33:10, 33:11,
                                                7:15, 25:20,
 55:4, 56:4,                    A               45:3, 45:11          auto [6] - 18:10,     beverage [1] -        33:12, 33:13,
 56:20                                                                18:13, 19:3,          60:20                33:14, 40:17,
                       able [3] - 16:3,        Almost [1] - 9:22
2.5 [1] - 53:24                                                       30:15, 62:25,        beverages [1] -       40:19, 40:24,
                        66:13, 69:12           America [1] - 8:12
20 [7] - 9:13, 9:15,                                                  65:2                  60:7                 47:15
                       Absolutely [1] -        amount [2] -
 10:20, 12:22,                                                       automobile [26] -     beyond [1] -         business [8] -
                        18:21                   53:19, 65:19
 12:23, 57:12,                                                        18:18, 19:6,          15:21                50:6, 56:25,
                       accelerate [1] -        Andre [1] - 51:3
 59:16                                                                19:7, 19:10,         big [1] - 34:20       57:17, 58:12,
                        24:17                  ankle [5] - 30:11,
20,000 [1] - 53:23                                                    19:14, 19:24,                              60:3, 66:5,
                       accident [1] -           30:12, 30:24,                              bike [1] - 65:3
2000s [1] - 53:15                                                     20:16, 20:19,        bit [2] - 14:15,      70:10, 70:21
                        30:15                   36:25, 37:2
2018 [3] - 37:2,                                                      21:2, 21:5,           18:6                businessman [1]
                       accompanied [4]         answer [2] -
 54:12, 59:20                                                         21:16, 21:25,        black [1] - 37:20     - 49:19
                        - 63:12, 63:14,         11:10, 44:13
2019 [4] - 54:2,                                                      24:18, 25:25,        blood [1] - 14:14    BY [3] - 7:7,
                        63:17, 63:18           answers [2] - 8:3,
 54:8, 54:17,                                                         27:7, 27:9,                                31:16, 56:2
                       accordance [1] -         8:4                                        blotter [1] - 52:2
 59:18                                                                27:11, 44:15,
                        27:7                   antiquated [1] -                            blue [1] - 37:20
2020 [1] - 54:10                                                      44:19, 60:18,                                      C
                       according [1] -          25:5                                       body [11] - 11:3,
2021 [7] - 10:15,                                                     63:23, 64:3,
                        10:22                  anytime [2] -                                12:12, 14:19,
 37:5, 52:23,                                                         64:8, 64:13,                              Camillus [1] -
                       accurate [2] -           49:19, 50:25                                37:22, 37:25,
 53:4, 54:19,                                                         64:24, 69:7                                36:8
                        32:2, 42:11            apologize [1] -                              40:11, 40:12,
 60:6, 63:23                                                         aware [13] - 24:4,                         car [14] - 18:17,
                       action [1] - 10:13       35:8                                        40:14, 40:18,
2022 [1] - 54:19                                                      24:7, 24:8,                                18:18, 18:24,
                       actions [3] - 51:8,     appeared [1] -                               46:5, 46:9
21 [1] - 30:16                                                        24:11, 24:13,        book [1] - 43:23      29:11, 30:18,
                        58:6, 65:19             67:20
25 [1] - 45:8                                                         24:19, 24:21,                              32:8, 34:10,
                       activated [4] -         applied [1] -                               booked [1] -
                                                                      26:2, 48:10,                               34:12, 35:2,
                        26:5, 26:8, 26:9,       21:24                                       51:25
                                                                      53:2, 53:5, 53:8,                          35:9, 35:10,
                        26:11                  apply [1] - 44:25                           born [1] - 8:23
                                                                      65:10                                      35:11, 63:20
                                               applying [2] -                              bottom [2] -


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                                                                                                                                   2

card [1] - 52:12       33:24, 34:17,       contacted [8] -        67:17, 68:8,         days [1] - 37:14      direction [2] -
care [1] - 36:23       60:2, 70:23          12:11, 12:17,         70:20                dead [1] - 30:22       30:19, 32:14
Carolyn [1] -         Coming [1] - 20:4     12:23, 13:2,         County [2] -          deal [3] - 52:24,     discussed [2] -
 16:11                commandments          33:3, 35:2,           57:13, 57:20          53:3, 53:6            52:18, 62:10
carry [1] - 64:2       [1] - 66:10          52:17, 52:22         county [2] - 59:7,    decided [1] -         dismissed [1] -
cars [2] - 28:23,     commands [4] -       continue [3] -         70:24                 45:18                 51:23
 34:17                 30:3, 61:2, 65:8,    15:21, 16:4,         couple [2] -          decision [1] -        DMV [3] - 63:5,
case [2] - 21:10,      65:10                20:12                 37:14, 55:23          44:8                  63:7, 64:25
 50:5                 commenced [1] -      continued [3] -       course [2] -          Declaration [1] -     doctor [4] - 36:20,
causing [1] -          10:14                22:3, 28:9,           21:18, 45:19          66:14                 36:21, 36:22,
 34:19                comment [2] -         34:13                court [4] - 7:15,     declared [1] -         36:23
cell [1] - 70:16       38:10, 38:12        contract [2] -         32:24, 67:8,          66:14                doctor's [1] - 36:9
Center [1] - 10:7     commented [1] -       10:11, 64:25          67:21                decreasing [1] -      doctors [1] -
change [3] - 8:3,      57:8                control [1] - 23:24   court's [1] - 45:20    24:5                  36:24
 54:21, 54:23         commercial [3] -     convicted [3] -       courts [2] - 62:20,   deemed [1] -          document [2] -
charge [4] -           45:16, 62:20,        43:14, 44:3,          68:14                 68:22                 39:24, 40:8
 15:24, 16:2,          62:23                44:5                 covered [1] -         deer [1] - 23:5       done [2] - 15:13,
 48:15                commit [4] -         conviction [1] -       69:16                definitely [1] -       71:3
charges [6] -          65:11, 65:14,        44:24                create [2] - 39:13,    68:23                door [11] - 31:4,
 51:22, 67:10,         65:16, 66:11        convictions [2] -      39:19                definition [4] -       31:6, 31:7,
 67:11, 67:13,        community [2] -       45:9, 45:11          created [5] -          19:15, 19:19,         32:16, 32:17,
 67:20, 67:21          50:16, 58:25        cop [1] - 42:13        39:11, 39:18,         19:20, 66:20          32:18, 33:6,
cheat [1] - 66:10     company [7] -        cops [5] - 34:18,      39:22, 45:6,         deployed [1] -         33:7, 33:8, 61:8
child [1] - 57:16      10:4, 10:9, 51:4,    67:15, 69:23,         49:17                 21:14                down [9] - 26:10,
choice [1] - 50:7      52:11, 52:22,        70:7, 70:11          crime [14] - 43:14,   deposition [7] -       26:13, 26:14,
choosing [1] -         53:11, 53:12        copy [4] - 7:9,        43:15, 43:18,         7:9, 7:10, 7:12,      28:4, 28:20,
 57:25                complaint [1] -       7:12, 45:24,          43:20, 43:21,         18:23, 19:8,          49:15, 57:22,
chose [5] - 53:5,      10:23                47:9                  43:23, 65:11,         31:11, 69:16          70:13, 70:25
 57:13, 57:17,        complete [1] -       corporation [3] -      65:14, 65:16,        Deposition [1] -      downtown [1] -
 57:20, 57:22          69:15                54:2, 54:6,           65:17, 65:23,         71:4                  20:4
chosen [1] - 53:3     completed [1] -       54:13                 66:19, 66:20         describe [2] -        dragged [1] - 67:8
citizen [2] - 62:3,    8:25                Correct [9] -         crimes [1] - 66:18     30:6, 56:19          drips [1] - 14:15
 62:6                 complications [1]     13:18, 22:2,         Criminal [1] -        Describe [1] -        drive [1] - 69:3
citizens [1] -         - 30:23              22:5, 55:14,          43:13                 15:19                driver [2] - 63:13,
 57:21                comply [1] -          55:16, 55:18,        Crouse [2] - 9:17,    described [2] -        63:19
claim [2] - 69:15,     65:24                55:21, 61:9,          9:18                  47:23, 56:19         driver's [2] -
 69:17                concern [1] -         65:21                Crouse-Hinds [2]      describing [3] -       44:23, 45:15
Class [4] - 63:10,     56:24               correct [15] -         - 9:17, 9:18          42:7, 45:24,         driveway [17] -
 63:13, 63:17,        concluded [1] -       7:17, 8:4, 10:20,                           58:7                  28:14, 28:20,
 63:19                 71:4                 13:17, 18:17,                 D            design [1] - 10:11     28:21, 28:22,
Cleaners [4] -        conditions [1] -      19:11, 24:24,                              designs [1] -          29:3, 29:6,
 22:11, 22:13,         68:24                42:12, 42:17,        damage [10] -          53:16                 29:10, 32:5,
 22:18, 60:2          conduct [1] - 66:2    44:16, 46:20,         49:12, 49:16,        destroy [2] -          32:9, 32:12,
cleaning [1] -        confirm [1] - 27:2    55:20, 56:20,         49:22, 50:12,         57:25, 70:25          34:12, 55:11,
 23:12                confirmed [1] -       61:8, 68:5            50:13, 50:20,        determination [1]      59:22, 61:2,
clear [2] - 13:16,     63:5                correcting [1] -       50:23, 52:4,          - 45:14               65:6, 69:13
 50:5                 consider [1] -        46:18                 66:4, 66:24          determine [1] -       driving [14] -
close [3] - 28:14,     43:15               correction [3] -      damaged [4] -          65:23                 18:11, 18:12,
 28:24, 56:16         consume [1] -         7:14, 7:18, 7:19      43:22, 49:14,        determined [1] -       20:8, 20:9,
clubs [1] - 70:13      60:7                corrections [3] -      50:15, 50:16          45:8                  24:12, 24:14,
                      consumed [1] -        7:15, 7:18, 7:25     damages [4] -         device [2] - 35:25,    27:6, 43:17,
clue [2] - 26:18,
                       60:21               corrupt [1] - 68:8     49:20, 50:9,          44:15                 43:25, 44:3,
 33:23
                      contact [14] -       could've [1] -         66:22, 66:24         devoted [2] -          44:5, 44:24,
codes [1] - 62:23
                       11:4, 11:16,         30:21                damaging [4] -         68:4, 68:6            59:19, 69:5
college [1] - 9:2
                       11:20, 12:4,        counseling [6] -       49:7, 65:18,         different [3] -       drop [1] - 67:9
comfort [1] -
                       13:5, 14:19,         11:20, 11:22,         70:18                 18:19, 34:19,        dropped [1] - 68:3
 25:22
                       15:9, 15:10,         12:3, 12:6, 12:8,    danger [1] - 69:23     65:2                 droppings [1] -
comfortable [2] -
                       15:22, 15:25,        48:23                dart [2] - 15:20,     dig [1] - 51:12        14:15
 25:19, 25:21
                       33:25, 40:11,       country [6] - 65:5,    47:15                Dinosaur [1] -        dry [1] - 23:12
coming [7] - 20:2,
                       57:5                 66:13, 66:16,        date [1] - 11:25       60:14                Dry [4] - 22:10,
 22:15, 30:18,


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                                                                                                                                       3

 22:13, 22:18,         46:12, 46:17,         fair [7] - 17:21,     four [2] - 25:6,       44:10, 67:13         hit [4] - 33:9, 38:4,
 60:2                  58:4, 60:6, 60:8,       31:23, 32:2,          28:23                                      47:7, 66:21
duly [1] - 7:3         60:21, 61:17,           32:15, 38:16,       four-lane [1] -                H            hold [1] - 42:4
DWI [2] - 44:9,        65:19, 68:17            65:24                 25:6                                      hole [9] - 17:14,
 59:24                ex [2] - 45:6,         fairly [1] - 28:14    free [3] - 66:12,     half [3] - 33:22,      17:16, 17:18,
                       59:16                 Fame [1] - 58:15        69:3, 69:6           67:7, 67:9            17:20, 17:22,
         E            exact [6] - 12:19,     fame [2] - 58:11,     freedom [6] -         Halfway [1] -          46:7, 46:8
                       39:21, 39:22,           58:14                 66:15, 68:12,        26:10                home [5] - 16:8,
ear [1] - 36:17        45:13, 55:2,          familiar [3] -          68:14, 68:16,       hall [2] - 58:11,      24:2, 59:22,
early [5] - 10:19,     58:17                   22:14, 25:2,          68:18                58:14                 60:2, 69:12
 53:15, 61:17,        examination [1] -        25:4                freedoms [1] -        Hall [1] - 58:15      honest [1] - 70:5
 63:22, 68:17          36:7                  far [2] - 28:20,        68:12               hand [2] - 31:17,     horse [9] - 18:13,
easily [1] - 30:22    EXAMINATION              29:5                fricking [2] -         32:20                 18:16, 18:22,
Eastwood [2] -         [1] - 7:6             fast [4] - 23:25,       70:15, 70:24        hands [2] - 61:5,      18:24, 19:3,
 10:6                 examined [1] -           25:21, 26:20,       friends [2] - 56:8,    65:7                  19:4, 20:15,
economic [1] -         7:5                     27:4                  56:13               happiness [1] -        65:3
 66:22                example [5] -          faster [3] - 23:18,   frivolous [1] -        66:7                 horses [1] - 62:25
education [1] -        49:22, 50:2,            25:14, 25:16          68:2                hard [3] - 39:2,      hospital [1] -
 8:25                  50:14, 50:17,         fatalities [2] -      front [2] - 22:10,     60:3, 67:4            48:25
effect [1] - 51:4      57:10                   24:6, 24:11           37:24               hardworking [1] -     hour [3] - 25:6,
effort [2] - 27:25,   excessive [4] -        Fay [3] - 20:21,      fully [1] - 21:13      58:2                  25:8, 37:10
 28:3                  48:17, 48:20,           20:25, 21:17        fun [1] - 38:17       headlights [14] -     hours [4] - 10:19,
either [2] - 39:15,    69:23, 70:2           feet [1] - 28:25                             21:4, 21:10,          39:13, 63:22,
 60:14                exercise [1] -         felt [6] - 15:9,               G             41:16, 41:20,         68:17
elapse [1] - 12:17     44:12                   15:15, 27:4,                               41:22, 41:24,        house [28] - 13:3,
electrical [2] -      EXHIBIT [5] -            33:9, 56:18,        G-R-U-N-D [1] -        42:3, 42:8,           13:6, 13:7,
 15:24, 16:2           31:14, 38:24,           56:21                16:13                 42:12, 42:17,         13:11, 13:12,
email [2] - 31:10,     40:2, 46:2,           femur [1] - 30:22     gaping [1] - 17:19     43:2, 43:5, 69:4,     13:15, 13:17,
 32:23                 47:11                 fighting [3] -        garage [11] - 13:4,    69:7                  13:20, 13:22,
emergency [2] -       exhibit [1] - 56:4       68:11, 68:12,        13:17, 13:21,        hear [7] - 29:25,      14:8, 14:9, 16:4,
 26:5, 27:24          Exhibit [14] -           68:15                13:25, 14:4,          30:3, 33:25,          20:6, 29:18,
employed [5] -         31:18, 38:21,         filed [3] - 54:7,      14:9, 28:24,          35:5, 36:3,           30:7, 31:5, 31:6,
 9:7, 9:9, 9:12,       39:10, 39:23,           54:8, 67:20          31:7, 31:8, 61:8,     60:25, 61:4           31:8, 31:21,
 9:25, 10:3            41:9, 41:15,          filing [1] - 54:5      64:6                 heard [1] - 28:11      32:3, 32:14,
employment [1] -       42:6, 42:9,           fingerprinted [1] -   generally [1] -       hearing [9] -          34:13, 34:15,
 9:24                  42:16, 45:23,           51:25                31:20                 35:15, 35:18,         35:11, 55:17
enacted [1] -          47:9, 55:4, 56:4,     first [3] - 7:3,      generating [1] -       35:19, 35:20,        humiliate [2] -
 59:16                 56:20                   16:24, 30:20         70:17                 35:25, 36:5,          57:6, 57:8
endangering [2] -     exit [1] - 35:11       fitting [1] - 17:2    Genesee [17] -         36:10, 36:13,        hurt [1] - 66:4
 57:16, 65:17         expenses [5] -         five [2] - 34:17,      20:8, 20:17,          36:16
enforce [1] -          48:22, 48:24,           39:13                20:20, 20:25,        held [1] - 9:23                 I
 23:11                 49:2, 49:8,           focused [1] -          22:4, 22:6, 22:9,    helping [1] -
enforcing [2] -        66:25                   34:21                24:12, 24:14,         57:18                IDENTIFICATIO
 23:17, 23:19         experience [1] -       follow [2] - 34:12,    24:17, 24:20,        hide [1] - 22:18        N [5] - 31:15,
enjoy [2] - 66:6,      37:9                    50:10                25:2, 26:2,          hiding [5] - 22:23,     38:25, 40:3,
 70:9                 expired [1] -          followers [4] -        26:20, 27:8,          22:25, 23:2,           46:3, 47:12
enjoying [1] -         44:22                   56:5, 56:7, 56:8,    27:12, 68:18          23:4, 59:25          ignore [1] - 65:8
 70:9                                          56:9                girl [1] - 57:14      high [2] - 50:25,     illuminated [1] -
enter [1] - 31:4               F             following [3] -       God's [2] - 66:2,      53:23                  27:24
entered [2] -                                  27:3, 37:10,         66:10                high-                 imagine [1] - 46:8
 13:24, 14:4          Facebook [6] -           44:24               government [1] -       performance [1]      immediately [4] -
entering [2] -          39:10, 39:18,        follows [1] - 7:5      68:8                  - 53:23                26:7, 26:8, 29:7,
 13:4, 33:6             40:6, 45:24,         foot [1] - 21:21      grade [1] - 8:24      high-profile [1] -      29:16
entertainment [1]       56:5, 56:11                                green [1] - 21:19      50:25                impact [2] -
                                             FOR [5] - 31:14,
 - 60:5               facing [1] - 32:14                           grew [1] - 24:25      higher [1] - 36:3       49:18, 58:24
                                               38:24, 40:2,
entranceway [1] -     fact [3] - 24:23,        46:2, 47:11         Grund [1] - 16:11     highest [1] - 8:24    impacted [1] -
 13:22                  52:18, 57:14         force [5] - 23:10,    guarantee [1] -       highly [1] - 70:19      50:3
equal [1] - 53:10     facto [2] - 45:6,        48:17, 48:20,        52:3                 Hinds [2] - 9:17,     impaired [1] -
evening [11] -          59:16                  69:18, 69:19        guilty [5] - 43:24,    9:18                   60:17
 18:8, 34:7,          fail [1] - 7:19        Four [1] - 53:24       44:7, 44:9,          hires [1] - 57:18     impersonating



                                           CSR Court Reporting, LLC
                                   www.csrcourtreporting.com ‐ (607) 301‐1629
                                                                                                                                      4

  [1] - 57:25            56:11                jury [1] - 44:5          66:6, 70:10         local [2] - 60:3,     mentioned [1] -
important [1] -        interacted [1] -                              license [13] -          70:10                24:15
  57:3                   56:13                          K              44:23, 45:2,        look [9] - 29:19,     mid-2000s [1] -
impose [1] - 23:9      interaction [1] -                               45:5, 45:7,           32:18, 35:12,        53:15
improve [1] - 66:7       49:20                keep [2] - 23:8,         45:12, 45:15,         38:22, 39:9,        middle [1] - 34:20
inadvertent [1] -      interactions [1] -      68:14                   62:25, 63:2,          39:25, 55:2,        midsection [1] -
  69:8                   58:13                kept [1] - 26:13         63:11, 63:14,         55:4, 64:18          11:11
Inc [1] - 52:14        interlock [3] -        kids [1] - 57:23         63:15, 63:17,       looked [3] -          might [2] - 14:25,
incident [30] -          44:15, 44:20,        kill [2] - 30:21,        63:19                 14:21, 14:23,        52:9
  10:15, 10:18,          44:21                 66:11                 licensed [3] -          17:19               miles [2] - 25:6,
  11:23, 11:24,        internet [1] -         killed [1] - 30:21       63:13, 63:19,       looking [4] -          25:8
  11:25, 12:25,          64:21                kind [5] - 25:9,         64:5                  17:25, 29:22,       military [1] -
  18:7, 32:6, 34:5,    interpretation [3]      36:11, 36:21,         licensee [1] - 64:6     39:3, 45:12          68:11
  34:8, 34:24,           - 65:22, 66:17,       44:10, 46:21          licensing [3] -       looks [1] - 32:3      military's [1] -
  36:20, 37:13,          66:19                knee [2] - 30:10,        62:12, 62:14,       loose [1] - 17:2       68:15
  39:14, 42:7,         intoxicated [6] -       30:25                   62:17                                     million [2] -
  48:21, 49:14,          43:17, 43:25,        knob [1] - 33:7        lie [2] - 57:24,               M             53:24, 53:25
  49:17, 52:23,          44:4, 44:6,          knowledge [2] -          66:10                                     mind [6] - 8:20,
  53:4, 54:23,           44:25, 59:19          57:3, 58:4            lied [1] - 57:14      mailing [2] - 8:16,    8:22, 26:15,
  55:5, 55:13,         invested [1] -         knows [1] - 34:17      life [5] - 9:25,       8:17                  43:21, 55:23,
  56:19, 58:19,          67:3                                          66:6, 66:7,         mantra [1] - 66:9      66:5
  58:21, 59:3,         investigated [1] -               L              66:12, 70:9         manufacturers         mindful [1] - 66:3
  59:20, 61:17,          61:11                                       life's [1] - 66:15     [1] - 10:12          Minimal [1] -
  69:24                investigation [1] -    labeled [1] - 59:4     lifetime [1] -        mark [1] - 31:9        54:14
income [3] -             58:6                 Lane [4] - 52:14,        24:24               marked [5] -          minimal [1] -
  54:21, 54:23,        invisible [1] -          52:17, 53:9,         lifted [1] - 24:9      31:12, 31:18,         54:15
  54:25                  70:16                  53:20                light [5] - 20:21,     38:21, 45:22,        minute [2] -
incorporated [2] -     involved [3] -         lane [2] - 25:6,         21:17, 21:18,        47:8                  38:21, 55:23
  52:15, 52:16           49:20, 49:24,          32:11                  26:4, 26:17         MARKED [5] -          minutes [2] -
incur [1] - 67:2         67:3                 Lanes [1] - 10:6       lights [10] - 21:2,    31:14, 38:24,         12:22, 12:23
Independence [1]       irrelevant [1] -       lanes [1] - 25:7         21:3, 26:5, 26:9,    40:2, 46:2,          mirror [1] - 38:6
  - 66:14                51:23                large [1] - 56:15        26:19, 27:24,        47:11                misdemeanor [2]
indexed [2] -          issue [7] - 30:3,      last [7] - 9:11,         28:10, 41:22,       martial [3] -          - 43:16, 43:20
  41:12, 48:9            34:22, 51:18,          9:16, 12:16,           41:23                23:10, 23:11,        misheard [1] -
individual [1] -         62:13, 62:16,          16:12, 35:20,        limit [12] - 23:18,    23:16                 7:16
  63:10                  67:11, 67:12           36:19, 60:20           24:13, 24:19,       matter [4] - 23:25,   mistake [1] - 69:8
inducted [1] -         issue's [1] - 48:16    Law [1] - 63:24          24:21, 25:5,         24:3, 55:20,         modern [3] -
  58:16                issues [4] - 35:15,    law [5] - 23:10,         25:17, 27:8,         56:25                 18:13, 18:22,
industry [1] - 51:2      49:25, 52:25,          23:11, 23:16,          27:12, 27:14,       Matthew [1] -          20:14
infringe [2] - 63:3,     61:11                  62:8, 65:12            27:18, 27:21,        10:14                Modern [1] - 19:3
  66:3                 itself [2] - 14:10,    laws [9] - 45:6,         27:22               mean [7] - 12:8,      mom [2] - 16:9,
infringed [1] -          39:14                  45:13, 45:14,        limits [3] - 23:16,    38:12, 38:14,         51:16
  68:16                                         59:16, 62:4,           23:20, 24:10         47:25, 56:12,        mom's [9] - 13:3,
injure [1] - 66:11              J               62:9, 62:19,         line [3] - 11:12,      64:17, 67:18          16:7, 16:10,
injured [1] - 43:22                             66:2, 66:10            11:13, 11:14        meaning [1] -          20:6, 28:14,
injuries [1] - 24:5    jacked [1] - 51:22     lawsuit [2] -          list [3] - 56:14,      64:16                 28:16, 31:21,
injuring [1] -         jacking [2] - 23:5,      34:22, 48:13           59:13, 59:17        mechanical [4] -       55:11, 59:21
  65:17                  60:2                 leaving [1] - 26:4     listening [1] -        18:13, 18:22,        moment [2] -
inside [2] - 13:6,     jail [3] - 51:25,      left [4] - 17:16,        36:5                 19:3, 20:14           15:22, 39:24
  55:17                  70:15, 70:16           17:18, 30:13,        lit [1] - 69:11       median [1] -          money [3] - 70:6,
inspected [2] -        job [2] - 9:14, 9:16     34:22                litigate [1] - 50:7    30:19                 70:22, 70:23
  64:5, 64:9           jobs [1] - 57:18       leg [2] - 30:10,       litigation [2] -      medical [9] -         Montana [1] -
instead [2] -          June [8] - 10:15,        30:12                  67:2, 68:5           11:15, 11:17,         24:8
  57:15, 57:22           10:20, 37:4,         legal [1] - 44:12      live [10] - 8:13,      12:2, 12:6,          months [1] -
insurance [1] -          52:23, 53:4,         lengths [1] -            8:14, 8:19, 8:20,    48:23, 48:25,         35:22
  64:2                   60:6, 63:23            29:11                  16:16, 65:3,         49:3, 61:21,         morning [7] -
insured [1] - 64:9     jurisdiction [1] -     less [1] - 25:11         66:2, 66:9           61:24                 10:19, 46:16,
intelligent [1] -        64:15                letting [1] - 57:22    lived [1] - 8:21      medication [2] -       46:17, 47:20,
  70:19                jurisdictions [1] -    liability [1] - 64:2   living [3] - 16:14,    37:4, 37:7            61:18, 63:22,
interact [1] -           34:19                liberty [3] - 65:4,      24:23, 70:15        mental [1] - 66:24     68:17



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                                    www.csrcourtreporting.com ‐ (607) 301‐1629
                                                                                                                                        5

most [2] - 14:25,      25:14, 28:17,          office [2] - 36:9,      68:18, 68:19,         pay [4] - 25:18,       40:13, 40:23,
 53:19                 34:20, 44:19,           36:25                  68:20, 68:21           29:8, 34:13,          40:24
mother [2] - 18:5,     57:24, 60:2,           Officer [5] -          ordered [2] -           35:14                pictures [2] -
 24:24                 60:4, 63:22,            10:14, 58:4,           44:14, 44:17          paying [1] - 25:23     11:5, 40:21
motion [1] - 46:23     69:2, 70:11             58:8, 61:13,          original [2] - 15:8,   pedal [3] - 21:23,    place [1] - 36:13
motor [4] - 63:8,     nightclub [1] -          61:16                  15:10                  21:24, 24:17         plate [2] - 64:10,
 63:11, 63:21,         51:4                   officer [22] -         originally [2] -       pedophile [3] -        64:12
 64:6                 nightlife [1] -          21:15, 26:3,           45:8, 59:15            57:11, 58:21,        play [1] - 10:8
move [3] - 21:16,      70:13                   27:23, 27:25,         out-of-pocket [3]       59:9                 Plaza [1] - 20:22
 21:20, 21:25         NO [5] - 31:14,          28:12, 29:19,          - 48:22, 48:24,       pedophilia [2] -      plead [1] - 43:24
moved [2] -            38:24, 40:2,            29:25, 30:3,           49:8                   58:7, 59:3           pocket [3] -
 21:18, 28:4           46:2, 47:11             33:25, 34:4,          outdated [1] -         people [32] -          48:22, 48:24,
moving [1] -          nobody [3] -             34:25, 35:5,           25:5                   14:25, 22:15,         49:8
 26:13                 25:12, 25:15,           35:13, 42:23,         outside [5] - 13:6,     23:5, 23:6, 23:8,    point [3] - 15:22,
MR [4] - 7:7, 31:9,    68:25                   43:7, 50:19,           34:7, 35:9, 49:3,      23:25, 25:12,         22:6, 22:8
 31:16, 56:2          normal [2] - 30:8,       55:20, 60:25,          61:10                  25:22, 34:18,        police [24] - 22:7,
MULLIN [4] - 7:7,      61:7                    61:14, 62:16,         Outside [3] - 13:7,     38:13, 49:23,         22:12, 23:19,
 31:9, 31:16,         North [4] - 8:17,        65:6, 69:9             49:4, 49:7             49:24, 51:17,         26:3, 29:2, 29:5,
 56:2                  31:24, 68:20,          officer's [1] -        overly [1] - 25:5       52:10, 52:24,         29:12, 49:17,
must [2] - 17:15,      68:21                   65:24                 overseas [2] -          52:25, 56:10,         49:20, 49:25,
 63:20                nose [1] - 35:17        officers [1] -          68:12, 70:23           56:13, 56:22,         50:18, 51:8,
                      Notary [1] - 7:3         64:15                 own [2] - 66:5,         56:23, 57:7,          52:2, 52:25,
         N            notice [7] - 41:16,     official [1] - 32:24    68:13                  57:18, 58:2,          55:11, 56:22,
                       42:2, 42:8,            officially [1] -       owned [1] - 44:18       59:5, 60:2, 66:4,     58:13, 59:23,
name [7] - 8:9,        42:12, 42:18,           31:11                 owner [1] - 57:17       66:5, 67:16,          61:14, 64:15,
 16:10, 16:12,         43:2, 69:11            once [2] - 32:23,      owning [1] - 51:3       68:7, 70:18           64:23, 65:13,
 50:5, 51:20,         notified [1] -           59:22                                        people's [1] - 52:5    68:9, 70:16
 51:25, 52:11          64:12                  One [5] - 9:2,                  P             per [2] - 10:8,       Police [2] - 59:21,
names [1] - 18:19     notify [1] - 64:23       52:14, 52:18,                                 38:14                 61:12
nature [2] - 35:25,   number [1] - 67:5        53:9, 53:20           pace [2] - 30:6,       Perfect [1] - 32:21   positive [1] - 48:3
 62:11                Number [7] -            one [10] - 36:12,       30:8                  performance [1] -     possibly [2] -
necessary [2] -        31:18, 47:9,            38:16, 44:17,         page [5] - 7:14,        53:23                 27:2, 51:11
 56:18, 56:21          52:14, 52:17,           44:18, 45:9,           7:18, 7:19, 7:20,     perhaps [2] -         post [10] - 39:10,
need [8] - 61:25,      53:9, 53:20,            53:13, 53:21,          39:18                  29:11, 29:14          39:17, 40:5,
 62:18, 62:24,         55:4                    57:10, 62:18          pain [6] - 15:17,      period [1] - 59:14     43:10, 45:6,
 63:2, 63:14,                                 ones [1] - 62:10        15:18, 15:19,         permitted [1] -        45:24, 55:5,
 63:17, 63:18                  O              Onondaga [2] -          15:21, 37:10,          63:11                 55:8, 57:5,
needed [3] -                                   57:13, 57:20           66:21                 person [2] -           59:16
 45:15, 47:5,         oath [1] - 15:8         open [2] - 22:17,      pants [1] - 17:4        50:25, 70:19         posted [4] -
 61:21                obey [1] - 62:4          33:7                  paper [1] - 51:5       personal [2] -         23:18, 27:12,
neighbor's [1] -      object [2] - 12:11,     opening [1] - 33:8     papers [1] - 33:10      65:3, 68:4            27:13, 43:4
 31:21                 33:24                  operate [3] -          paperwork [2] -        pertain [1] - 62:19   posting [1] - 56:3
never [1] - 62:5      observe [1] - 22:7       57:21, 63:11,          21:9, 21:12           philosophy [1] -      postings [1] -
new [3] - 44:25,      obvious [1] -            69:6                  Paradox [1] - 24:8      27:3                  42:25
 45:4, 45:7            46:21                  operated [1] -         parents [2] -          phone [2] - 41:4,     posts [1] - 43:9
New [5] - 7:4,        obviously [4] -          37:2                   57:16, 57:23           55:15                postulation [1] -
 8:18, 44:23,          18:9, 45:25,           operating [5] -        park [3] - 22:15,      photograph [18] -      62:6
 52:16, 63:24          58:24, 69:10            19:10, 19:15,          28:23, 28:24           31:10, 31:20,        power [1] - 23:24
newly [1] - 45:6      occur [3] - 13:2,        19:19, 27:7,          parked [3] -            32:3, 32:19,         PR1V4T3 [2] -
news [1] - 59:6        13:5, 34:8              27:9                   22:10, 29:9,           40:9, 40:10,          64:11, 64:16
newspaper [9] -       occurred [8] -          operation [1] -         32:8                   40:14, 40:25,        prescription [1] -
 51:6, 51:7, 51:9,     13:3, 18:7, 32:6,       64:6                  parking [3] -           41:3, 41:9,           35:24
 51:10, 51:14,         50:14, 52:23,          opinion [1] - 53:9      22:17, 23:12           45:23, 46:10,        Prescription [1] -
 51:17, 52:2,          53:4, 59:20,           opportunity [2] -      part [1] - 37:24        47:2, 47:9,           36:2
 52:7, 52:9            60:12                   7:24, 39:9            pass [1] - 26:14        47:10, 47:14,        presumed [1] -
next [2] - 10:6,      offense [1] -           opposed [2] -          past [1] - 35:23        47:18, 47:22          21:13
 39:16                 43:19                   23:19, 66:18          Patrick [1] - 22:18    photographs [3] -     pretty [2] - 28:21,
night [15] - 16:25,   offer [1] - 61:24       Orchard [8] -          Patrick's [3] -         41:5, 41:8, 48:6      30:20
 17:12, 22:15,        offhand [1] -            8:17, 26:10,           22:10, 22:13,         photos [1] - 48:3     prevented [2] -
 25:11, 25:13,         60:15                   26:17, 31:24,          59:25                 picture [4] - 39:4,    45:4, 45:7



                                            CSR Court Reporting, LLC
                                   www.csrcourtreporting.com ‐ (607) 301‐1629
                                                                                                                                       6

previous [1] -         28:19, 32:6,            24:10, 45:10           65:7                Ryan's [1] - 58:4       50:22
 21:9                  33:7, 42:13            reduces [1] - 24:5    requests [2] -                               shooting [1] -
private [4] -         pulling [1] - 27:25     Reebok [2] - 51:3,      30:4, 65:24                  S              67:16
 64:13, 64:18,        purpose [1] -            53:11                required [2] -                               shop [1] - 10:5
 64:24, 65:2           46:25                  refer [1] - 33:10       64:4, 64:8          safe [4] - 23:9,       shortly [2] - 18:7,
pro [1] - 10:5        purposes [2] -          reflect [1] - 62:23   reread [1] - 11:7      24:2, 25:19,           48:7
probe [2] - 13:2,      45:16, 48:12           refused [1] -         reside [2] - 8:11,     27:4                  shot [7] - 11:2,
 35:3                 pursuant [1] -           55:19                  8:12                safely [1] - 69:12      15:12, 15:20,
problem [2] -          48:18                  register [1] - 63:7   resolve [1] - 61:10   safer [1] - 25:24       47:4, 48:19,
 22:20, 69:13         pursuing [1] -          registered [5] -      response [2] -        safety [1] - 23:23      51:21, 67:14
produce [3] -          68:5                    59:9, 62:24,           55:12, 63:5         sales [2] - 53:24      Shot [1] - 50:18
 10:12, 41:9,         pursuit [1] - 66:6       63:24, 64:9,         result [5] - 11:20,   Salvoy [6] - 8:18,     show [13] - 32:10,
 48:5                 put [7] - 26:16,         64:14                  12:3, 44:14,         25:7, 59:21,           32:16, 32:17,
professional [8] -     42:20, 51:24,          registry [1] -          48:21, 49:2          59:23, 61:12,          38:20, 45:22,
 10:7, 11:17,          51:25, 67:4,            59:13                Retired [1] - 9:10     61:13                  47:8, 47:14,
 11:21, 12:5,          67:7, 70:25            regular [1] - 36:24   retribution [1] -     save [1] - 41:5         48:6, 56:22,
 12:7, 12:8,          puts [1] - 32:24        related [1] - 48:24     50:11               saved [2] - 37:8,       61:4, 61:5, 65:7,
 36:13, 58:10         putting [1] - 26:19     relevant [1] -        return [1] - 7:19      41:8                   68:7
profile [1] - 50:25                            48:12                returns [1] - 54:5    saw [8] - 26:11,       shown [5] - 24:5,
profits [1] - 54:12            Q              remember [7] -        revenue [1] -          34:9, 34:12,           31:19, 41:9,
prong [25] -                                   15:5, 16:22,           70:17                38:13, 51:13,          56:4
 10:24, 11:4,         questions [2] -          20:22, 37:14,        revoked [1] -          52:6, 52:9,           shut [1] - 70:13
 12:3, 13:8,           13:19, 43:13            39:22, 55:3,           44:24                52:10                 sick [2] - 70:5,
 13:10, 14:6,         quite [2] - 52:2,        60:15                Richard [1] - 8:10    scene [2] - 34:17,      70:25
 14:18, 15:4,          55:3                   remodeling [1] -      riding [5] - 18:12,    34:20                 side [7] - 13:3,
 16:6, 16:18,                                  70:22                  20:11, 20:14,       se [2] - 10:8,          13:16, 28:2,
 17:7, 18:3, 33:3,             R              remove [5] -            20:17, 60:17         38:14                  31:6, 31:7,
 37:9, 40:10,                                  13:11, 14:6,         right-hand [1] -      search [1] - 41:8       32:20, 37:25
 46:5, 46:15,         rather [2] - 22:16,      14:12, 16:6,           32:20               see [19] - 9:6,        sign [1] - 7:11
 46:19, 47:16,         57:21                   16:21                rights [3] - 68:9,     14:23, 16:18,         signal [1] - 26:16
 48:7, 49:2, 49:6,    read [3] - 11:9,        removed [8] -           68:10, 70:8          16:21, 22:12,         signed [1] - 7:20
 49:12, 49:16,         39:3, 57:5              14:3, 14:20,         ringing [1] - 36:17    26:5, 26:9, 34:8,     signing [2] - 7:17,
 66:21                reading [1] -            18:3, 37:9,          Road [8] - 8:18,       34:25, 35:9,           7:19
proof [1] - 47:6       45:12                   40:20, 40:23,          20:22, 20:25,        35:11, 35:12,         Similar [1] - 54:20
property [3] -        really [9] - 10:8,       46:14, 48:7            21:17, 26:10,        37:22, 38:5,          similar [2] - 51:3,
 43:22, 65:2,          17:18, 31:7,           removing [2] -          26:17, 68:20,        38:15, 42:9,           54:18
 65:18                 38:13, 38:15,           46:19, 47:18           68:21                46:6, 51:10,          single [1] - 25:7
prosecute [1] -        39:2, 44:11,           rephrase [1] -        road [6] - 25:12,      52:10                 single-lanes [1] -
 57:13                 45:15, 51:18            24:16                  25:13, 25:19,       self [4] - 9:8, 9:9,    25:7
protect [1] - 57:21   reapply [1] -           replaced [1] -          26:18, 68:19,        9:25, 10:3            siren [1] - 28:10
prove [2] - 66:23,     45:12                   37:2                   69:2                self-employed [3]      sirens [1] - 28:11
 68:14                reason [2] -            replacement [1] -     roads [3] - 25:7,      - 9:9, 9:25, 10:3     sit [1] - 52:21
provide [2] -          28:16, 43:6             30:24                  64:7, 69:10         selling [2] - 53:16,   sitting [1] - 22:16
 31:12, 49:11         receive [2] -           reported [2] -        roadway [1] -          53:17                 six [2] - 34:17,
providing [1] - 7:9    11:15, 38:8             51:5, 51:8             68:25               send [1] - 7:12         35:22
prudent [3] -         received [5] -          reporter [2] -        rob [1] - 66:11       set [2] - 7:21, 25:9   slightly [2] -
 27:17, 27:20,         11:19, 11:21,           7:15, 32:24          rode [1] - 63:16      sex [1] - 57:14         27:22, 56:17
 68:23                 12:2, 12:5,            reporting [4] -       role [1] - 58:7       shattered [1] -        slowed [3] -
psychiatric [1] -      12:10                   41:20, 55:5,         Roughly [1] -          30:22                  26:13, 26:14,
 48:23                receiving [1] -          56:25, 59:7            53:23               shirt [13] - 17:2,      28:3
psychological [3]      12:8                   reputation [12] -                            17:3, 17:7, 17:8,     social [1] - 48:23
                                                                    row [1] - 53:25
 - 12:3, 49:3,        recess [1] - 55:25       49:7, 49:13,                                17:9, 17:11,          society [1] - 66:8
                                                                    ruin [1] - 70:11
 49:4                 record [8] - 8:7,        49:14, 49:16,                               17:14, 17:23,         soil [1] - 68:13
                                                                    rule [1] - 62:21
Public [1] - 7:4       8:8, 8:9, 43:13,        49:18, 49:21,                               17:25, 38:15,
                                                                    ruled [1] - 45:20                            sold [1] - 53:20
public [5] - 51:19,    46:22, 47:3,            50:13, 50:15,                               46:7, 46:8
                                                                    ruling [1] - 45:21                           someone [2] -
 51:21, 55:5,          47:5, 55:24             50:24, 52:5,                               shit [1] - 59:5
                                                                    run [4] - 10:5,                               65:17, 66:18
 56:4, 57:2           records [1] - 55:2       56:25, 58:2                                shock [3] - 15:10,
                                                                      30:8, 30:9, 31:2                           Sometime [1] -
Pulled [1] - 14:13    reddish [1] -           Request [2] -                                15:11, 15:16
                                                                    Ryan [4] - 10:14,                             14:7
pulled [7] - 12:15,    37:20                   41:12, 48:9                                shoe [1] - 53:11
                                                                      58:8, 61:13,                               sometime [1] -
 12:18, 28:15,        reduced [2] -           requesting [1] -                            shoot [2] - 23:6,
                                                                      61:16                                       26:4


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                                                                                                                                   7

sometimes [1] -        70:21                stuck [1] - 12:12       [1] - 33:22         tyrannical [1] -     walking [3] - 16:4,
 36:15                State [5] - 7:4,      studies [1] - 24:4    throat [1] - 35:17      68:9                29:18, 31:3
Sometimes [1] -        9:4, 44:23,          Studio [1] - 60:14    throughway [1] -                           WAS [5] - 31:14,
 41:6                  52:16, 63:24         study [1] - 24:9        30:16                        U            38:24, 40:2,
somewhere [3] -       state [5] - 8:9,      submitted [1] -       tibia [1] - 30:23                           46:2, 47:11
 9:19, 18:8,           59:10, 62:4,          21:9                 tinnitus [1] -        under [8] - 15:8,    watch [1] - 57:23
 64:19                 64:14, 64:25         successful [1] -        36:18                27:12, 27:13,       wear [1] - 38:14
Somewhere [1] -       statement [4] -        57:19                today [4] - 12:2,      54:16, 63:24,       wearing [3] -
 36:8                  42:4, 42:7,          suffer [1] - 66:22      47:24, 52:21,        64:24, 66:2,         16:24, 17:2,
sore [3] - 37:11,      42:11, 43:3          supporting [1] -        66:23                66:9                 17:12
 37:12, 37:16         statements [2] -       60:3                 took [9] - 40:21,     Under [1] - 26:22    week's [1] - 60:3
soreness [1] -         42:25, 43:4          Supporting [1] -        40:23, 40:24,       underage [1] -       welfare [1] - 57:16
 37:15                stating [1] - 41:17    70:10                  46:10, 46:19,        57:14               west [1] - 22:3
soul [1] - 8:15       statutes [1] -        supposed [2] -          47:17, 47:20,       University [1] -     West [17] - 9:4,
sounds [1] - 36:3      62:23                 23:16, 69:24           48:7                 9:4                  20:8, 20:17,
sovereign [2] -       stay [2] - 12:12,     Supposedly [1] -      top [1] - 28:22       unjust [1] - 69:22    20:20, 20:25,
 62:3, 62:5            34:21                 66:13                towards [1] - 31:3    unnecessary [1] -     22:3, 22:6, 22:8,
Spare [1] - 10:5      stayed [1] - 28:18    sworn [1] - 7:3       town [3] - 8:13,       70:2                 24:12, 24:14,
specialist [1] -      stays [1] - 7:20      Syracuse [1] -          8:14, 70:21         up [8] - 18:6,        24:17, 24:19,
 35:18                steal [1] - 66:11      58:15                traffic [1] - 24:10    24:25, 25:9,         25:2, 26:2,
speed [22] -          steering [3] -        system [2] -          transcript [4] -       28:21, 29:5,         26:20, 27:12,
 23:16, 23:18,         18:14, 19:22,         44:20, 44:21           7:12, 7:13, 7:14,    51:12, 51:22,        68:18
 23:20, 24:9,          19:23                                        7:20                 53:13               Westvale [1] -
 24:13, 24:19,        step [1] - 13:23               T            travel [5] - 22:3,                          20:22
 24:21, 25:4,         stick [1] - 17:10                             25:21, 63:3,                 V           What'd [1] - 18:4
 25:9, 25:17,         sticker [1] - 32:24   t-shirt [1] - 17:3      65:3, 68:18                              whole [3] - 9:25,
 27:8, 27:11,         sticking [2] -        taser [16] - 10:24,   traveling [8] -       van [1] - 22:19       10:17, 49:14
 27:12, 27:13,         40:19, 46:9            15:12, 33:14,         24:15, 24:16,       vanity [1] - 64:12   wide [1] - 22:17
 27:17, 27:18,        still [13] - 13:24,     38:4, 40:11,          25:25, 27:10,       vehicle [15] -       wielded [2] -
 27:20, 27:21,         16:14, 17:11,          40:15, 40:19,         27:11, 27:13,        22:7, 22:12,         56:23, 69:19
 27:22, 61:8,          25:7, 33:15,           47:4, 47:15,          27:16, 27:20         29:2, 29:5,         wire [5] - 13:8,
 68:21, 68:23          40:12, 40:24,          48:19, 48:21,       treatment [3] -        29:12, 29:13,        13:10, 13:13,
Speed [1] - 24:8       40:25, 41:10,          50:18, 51:21,         11:15, 11:18,        29:15, 29:20,        13:24, 15:3
speeding [3] -         42:4, 43:3, 46:5,      52:18, 67:14,         12:9                 29:23, 63:8,        wise [1] - 50:24
 26:15, 26:18,         54:2                   69:25               treatments [1] -       63:11, 63:21,       withdraw [3] -
 62:11                stop [12] - 20:20,    tax [1] - 54:5          48:25                64:5, 64:6,          15:4, 38:8,
speeds [1] - 24:5      20:23, 20:25,        tear [1] - 57:22      trial [1] - 44:3       64:10                54:22
spell [1] - 16:12      28:5, 28:6, 58:8,    tend [3] - 22:17,     tried [1] - 62:21     vehicles [2] -       witness [2] - 7:9,
spend [3] - 49:5,      60:12, 61:2,           49:23, 52:24        trouble [2] - 36:5,    62:20, 62:24         34:8
 50:4, 70:6            65:7, 65:12,         test [2] - 35:19,       36:16               versus [1] - 25:6    women [1] - 36:5
spending [1] -         66:18                  35:21               true [1] - 13:20      video [4] - 55:9,    women's [1] -
 50:6                 stopped [6] -         testified [1] - 7:5   try [1] - 57:13        55:13, 55:15         36:6
Sports [1] - 10:7      20:21, 29:12,        testimony [2] -       trying [7] - 50:5,    videoed [1] -        word [1] - 7:16
Sposato [1] - 8:10     32:11, 32:13,          47:23, 61:7           50:10, 64:23,        55:17
                                                                                                             wording [3] -
spot [2] - 23:6,       65:15, 65:18         tests [1] - 35:18       66:6, 66:7, 70:9,   violate [1] - 70:8    45:13, 45:14,
 23:12                store [1] - 36:10     Texas [1] - 9:4         70:11               violating [1] -       62:22
spots [1] - 29:10     Straight [1] -        text [2] - 39:6,      turn [3] - 26:17,      68:9                words [1] - 63:9
stalking [1] -         29:24                  41:17                 29:2, 35:12         visiting [1] -       world [2] - 53:10,
 22:15                Street [17] - 20:8,   therefore [1] -       turned [6] - 21:19,    24:23                58:12
stand [2] - 43:3,      20:17, 20:20,          64:14                 29:17, 33:7,        visits [1] - 36:25   worldwide [2] -
 68:10                 20:25, 22:4,         thinking [2] -          34:16, 68:2         visual [1] - 64:18    51:2, 70:22
standard [1] -         22:7, 22:9,            25:15, 25:18        two [8] - 29:9,       voices [1] - 36:6    worth [1] - 60:4
 43:12                 24:13, 24:14,        thoroughfare [2] -      29:11, 42:25,                            would've [1] -
standing [2] -         24:17, 24:20,          25:6, 25:10           43:4, 48:3, 67:7,           W             65:18
 53:10, 58:24          25:3, 26:2,          threads [1] -           67:9                                     written [3] -
                       26:21, 27:8,                               two-and-a-half [2]    waived [1] - 7:24
stands [1] - 53:12                            17:17                                                           41:18, 62:9,
                       27:12, 68:18                                 - 67:7, 67:9        walk [2] - 16:3,
start [2] - 20:24,                          three [4] - 33:22,                                                62:19
                      Strike [1] - 10:5                           type [4] - 17:3,       34:13
 43:16                                        45:9, 45:10,
                      striking [1] - 49:6     50:5                  17:4, 33:12,        walked [2] - 30:6,
Started [1] - 29:18
                      struck [1] - 10:23                            33:13                61:7
Starting [1] -                              three-and-a-half



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                                                                   8

         Y
year [8] - 9:2,
 9:22, 35:23,
 44:17, 44:22,
 53:21, 53:24,
 58:17
yearly [1] - 36:25
years [10] - 33:22,
 45:9, 45:10,
 50:5, 53:25,
 57:12, 59:15,
 59:16, 67:7,
 67:9
yelling [1] - 61:4
yield [2] - 27:25,
 28:3
York [5] - 7:4,
 8:18, 44:23,
 52:16, 63:24
yourself [1] -
 63:16

         Z
zone [1] - 25:22




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